Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 1 of 131 PageID# 16764




                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


       NAVIENT SOLUTIONS, LLC,

                         Plaintiff,

       v.                                                     Civil Action No. 1:19-cv-00461

       THE LAW OFFICES OF JEFFREY
       LOHMAN, et al.,

                         Defendants.


     PLAINTIFF NAVIENT SOLUTIONS, LLC’S SUBMISSION OF JOINT PROPOSED
                JURY INSTRUCTIONS AND JURY VERDICT FORM

              Pursuant to the Court’s Order dated July 22, 2021, the parties have conferred and agreed

   on a full set of jury instruction, which Plaintiff Navient Solutions, LLC is filing on behalf of the

   parties.



   Dated: July 30, 2021                                   Respectfully submitted,

                                                          /s/ Jeffrey R. Hamlin
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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 2 of 131 PageID# 16765




                                                           Table of Contents


   PROPOSED JURY INSTRUCTION NO. 1 ................................................................................... 8
      Agreed: Preliminary Instructions ................................................................................................ 8
   PROPOSED JURY INSTRUCTION NO. 2 ................................................................................... 2
      Agreed: General Instructions: Province of the Court and Jury ................................................... 2
   PROPOSED JURY INSTRUCTION NO. 3 ................................................................................... 4
      Agreed: Unanimity and Disagreement Among Jurors ................................................................ 4
   PROPOSED JURY INSTRUCTION NO. 4 ................................................................................... 5
      Agreed: Parties of Equal Standing .............................................................................................. 5
   PROPOSED JURY INSTRUCTION NO. 5 ................................................................................... 6
      Agreed: Sympathy ...................................................................................................................... 6
   PROPOSED JURY INSTRUCTION NO. 6 ................................................................................... 7
      Agreed: Common Counsel .......................................................................................................... 7
   PROPOSED JURY INSTRUCTION NO. 7 ................................................................................... 8
      Agreed: Juror Note-Taking ......................................................................................................... 8
   PROPOSED JURY INSTRUCTION NO. 8 ................................................................................... 9
      Agreed: Juror Use of Electronic Communication Technologies ................................................ 9
   PROPOSED JURY INSTRUCTION NO. 9 ................................................................................. 10
      Agreed: Communications Between Court and Jury During Jury’s Deliberations .................... 10
   PROPOSED JURY INSTRUCTION NO. 10 ............................................................................... 11
      Agreed: Evidence in the Case ................................................................................................... 11
   PROPOSED JURY INSTRUCTION NO. 11 ............................................................................... 13
      Agreed: Direct and Circumstantial Evidence ........................................................................... 13
   PROPOSED JURY INSTRUCTION NO. 12 ............................................................................... 14
      Agreed: Discrepancies in Testimony ........................................................................................ 14
   PROPOSED JURY INSTRUCTION NO. 13 ............................................................................... 16
      Agreed: Use of Depositions as Evidence .................................................................................. 16
   PROPOSED JURY INSTRUCTION NO. 14 ............................................................................... 17
      Agreed: Expert Opinion Evidence ............................................................................................ 17
   PROPOSED JURY INSTRUCTION NO. 15 ............................................................................... 18
      Agreed: Inferences .................................................................................................................... 18
   PROPOSED JURY INSTRUCTION NO. 16 ............................................................................... 19



                                                                        2
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 3 of 131 PageID# 16766




     Agreed: Impeachment: Inconsistent Statements or Conduct .................................................... 19
   PROPOSED JURY INSTRUCTION NO. 17 ............................................................................... 20
     Agreed: Prior Inconsistent Statement by Party ......................................................................... 20
   PROPOSED JURY INSTRUCTION NO. 18 ............................................................................... 21
     Agreed: Adverse Witness ......................................................................................................... 21
   PROPOSED JURY INSTRUCTION NO. 19 ............................................................................... 22
     Agreed: Party Bound by His Own Testimony .......................................................................... 22
   PROPOSED JURY INSTRUCTION NO. 20 ............................................................................... 23
     Agreed: Amount Sued for Is Not Evidence .............................................................................. 23
   PROPOSED JURY INSTRUCTION NO. 21 ............................................................................... 24
     Agreed: Burden of Proof ........................................................................................................... 24
   PROPOSED JURY INSTRUCTION NO. 22 ............................................................................... 26
     Plaintiff’s Proposal: Introduction to Plaintiff’s Claims ............................................................ 26
     Defendants’ Proposal: (No Instruction) .................................................................................... 28
     Defendants’ Proposal: Introduction to Lohman Defendants’ Defenses ................................... 28
   PROPOSED JURY INSTRUCTION NO. 23 ............................................................................... 30
     Agreed: The Nature of Racketeering under RICO ................................................................... 30
   PROPOSED JURY INSTRUCTION NO. 24 ............................................................................... 31
     Agreed: RICO: Section 1962(c)................................................................................................ 31
   PROPOSED JURY INSTRUCTION NO. 25 ............................................................................... 32
     Agreed: Elements of a Section 1962(c) Violation .................................................................... 32
   PROPOSED JURY INSTRUCTION NO. 26 ............................................................................... 33
     Plaintiff’s Proposal: Definition of “Enterprise” ........................................................................ 33
     Defendants’ Proposal: Definition of “Enterprise” .................................................................... 34
   PROPOSED JURY INSTRUCTION NO. 27 ............................................................................... 36
     Agreed: Definition of “Association” ........................................................................................ 36
   PROPOSED JURY INSTRUCTION NO. 28 ............................................................................... 37
     Plaintiff’s Proposal: Definition of “To Participate in the Conduct of the Enterprise’s Affairs”
     ................................................................................................................................................... 37
     Defendants’ Proposal: Definition of “To Participate in the Conduct of the Enterprise’s Affairs”
     ................................................................................................................................................... 37
   PROPOSED JURY INSTRUCTION NO. 29 ............................................................................... 39
     Agreed: Definition of Participating in the Conduct of the Enterprise’s Affair “Through” a
     Pattern of Racketeering Activity ............................................................................................... 39
   PROPOSED JURY INSTRUCTION NO. 30 ............................................................................... 40



                                                                             3
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 4 of 131 PageID# 16767




     Partially Agreed: Racketeering Activity: Mail Fraud ............................................................... 40
   PROPOSED JURY INSTRUCTION NO. 31 ............................................................................... 42
     Plaintiff’s Proposal: Elements of Mail Fraud ........................................................................... 42
     Defendants’ Proposal: Elements of Mail Fraud ........................................................................ 43
   PROPOSED JURY INSTRUCTION NO. 32 ............................................................................... 45
     Agreed: Racketeering Activity: Wire Fraud ............................................................................. 45
   PROPOSED JURY INSTRUCTION NO. 33 ............................................................................... 46
     Plaintiff’s Proposal: Elements of Wire Fraud ........................................................................... 46
     Defendants’ Proposal: Elements of Wire Fraud ....................................................................... 47
   PROPOSED JURY INSTRUCTION NO. 34 ............................................................................... 49
     Agreed: Racketeering: Witness Tampering .............................................................................. 49
   PROPOSED JURY INSTRUCTION NO. 35 ............................................................................... 50
     Plaintiff’s Proposal: Elements of Witness Tampering .............................................................. 50
     Defendants’ Proposal: Elements of Witness Tampering .......................................................... 51
   PROPOSED JURY INSTRUCTION NO. 36 ............................................................................... 52
     Agreed: “Knowingly” and “Willfully” ..................................................................................... 52
   PROPOSED JURY INSTRUCTION NO. 37 ............................................................................... 53
     Agreed: Intent to Defraud ......................................................................................................... 53
   PROPOSED JURY INSTRUCTION NO. 38 ............................................................................... 54
     Agreed: State of Mind ............................................................................................................... 54
   PROPOSED JURY INSTRUCTION NO. 39 ............................................................................... 55
     Plaintiff’s Proposal: False Statements ...................................................................................... 55
     Defendants’ Proposal: False Statements ................................................................................... 56
   PROPOSED JURY INSTRUCTION NO. 40 ............................................................................... 58
     Defendants’ Proposal: Litigation Activities.............................................................................. 58
     Plaintiff’s Proposal: (No Instruction)........................................................................................ 58
   PROPOSED JURY INSTRUCTION NO. 41 ............................................................................... 59
     Defendants’ Proposal: Formality in Forming an Attorney-Client Relationship ....................... 59
     Plaintiff’s Proposal: (No Instruction)........................................................................................ 59
   PROPOSED JURY INSTRUCTION NO. 42 ............................................................................... 60
     Defendants’ Proposal: Ratification ........................................................................................... 60
     Plaintiff’s Proposal: (No Instruction)........................................................................................ 60
   PROPOSED JURY INSTRUCTION NO. 43 ............................................................................... 61
     Defendants’ Proposal: Intentional Default................................................................................ 61



                                                                      4
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 5 of 131 PageID# 16768




     Plaintiff’s Proposal: (No Instruction)........................................................................................ 61
   PROPOSED JURY INSTRUCTION NO. 44 ............................................................................... 62
     Defendants’ Proposal: Unanimity on Racketeering Acts ......................................................... 62
     Plaintiff’s Proposal: (No Instruction)........................................................................................ 62
   PROPOSED JURY INSTRUCTION NO. 45 ............................................................................... 63
     Agreed: Definition of “Pattern of Racketeering Activity” ....................................................... 63
   PROPOSED JURY INSTRUCTION NO. 46 ............................................................................... 65
     Agreed: RICO: Section 1962(d) ............................................................................................... 65
   PROPOSED JURY INSTRUCTION NO. 47 ............................................................................... 66
     Plaintiff’s Proposal: Elements of a 1962(d) Violation.............................................................. 66
     Defendants’ Proposal: Elements of a 1962(d) Violation .......................................................... 68
   PROPOSED JURY INSTRUCTION NO. 48 ............................................................................... 70
     Partially Agreed: RICO: Conspiracy Agreement ..................................................................... 70
   PROPOSED JURY INSTRUCTION NO. 49 ............................................................................... 72
     Defendants’ Proposal: RICO: Civil Standing ........................................................................... 72
     Plaintiff’s Proposal: (No Instruction)........................................................................................ 72
   PROPOSED JURY INSTRUCTION NO. 50 ............................................................................... 73
     Plaintiff’s Proposal: RICO: Injury ............................................................................................ 73
     Defendants’ Proposal: RICO: Injury by Reason of the RICO Violation .................................. 74
   PROPOSED JURY INSTRUCTION NO. 51 ............................................................................... 76
     Plaintiff’s Proposal: RICO: Injury to Business or Property...................................................... 76
     Defendants’ Proposal: RICO: Injury to Business or Property .................................................. 77
   PROPOSED JURY INSTRUCTION NO. 52 ............................................................................... 78
     Plaintiff’s Proposal: Elements of Fraud .................................................................................... 78
     Defendants’ Proposal: Elements of Fraud ................................................................................ 78
   PROPOSED JURY INSTRUCTION NO. 53 ............................................................................... 80
     Defendants’ Proposal: Reliance ................................................................................................ 80
     Plaintiff’s Proposal: (No Instruction)........................................................................................ 81
   PROPOSED JURY INSTRUCTION NO. 54 ............................................................................... 82
     Agreed: Fraud: Damages .......................................................................................................... 82
   PROPOSED JURY INSTRUCTION NO. 55 ............................................................................... 83
     Plaintiff’s Proposal: Elements of Tortious Interference with Contract or Business Expectancy
     ................................................................................................................................................... 83
     Defendants’ Proposal: Elements of Tortious Interference with Contract or Business
     Expectancy ................................................................................................................................ 84



                                                                             5
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 6 of 131 PageID# 16769




   PROPOSED JURY INSTRUCTION NO. 56 ............................................................................... 86
      Defendants’ Proposal: Tortious Interference: Justification and Privilege ................................ 86
      Plaintiff’s Proposal: (No Instruction)........................................................................................ 86
   PROPOSED JURY INSTRUCTION NO. 57 ............................................................................... 87
      Partially Agreed: Tortious Interference: Damages ................................................................... 87
   PROPOSED JURY INSTRUCTION NO. 58 ............................................................................... 88
      Plaintiff’s Proposal: Punitive Damages .................................................................................... 88
      Defendant’s Proposal: (No Instruction) .................................................................................... 89
      Defendant’s Proposal: Punitive Damages ................................................................................. 89
   PROPOSED JURY INSTRUCTION NO. 59 ............................................................................... 91
      Plaintiff’s Proposal: Punitive Damages: Relevant Evidence .................................................... 91
      Defendants’ Proposal: (No Instruction) .................................................................................... 92
   PROPOSED JURY INSTRUCTION NO. 60 ............................................................................... 93
      Agreed: Telephone Consumer Protection Act (“TCPA”)......................................................... 93
   PROPOSED JURY INSTRUCTION NO. 61 ............................................................................... 94
      Plaintiff’s Proposal: Definition of “ATDS” .............................................................................. 94
      Defendants’ Proposal: Definition of “ATDS” .......................................................................... 94
   PROPOSED JURY INSTRUCTION NO. 62 ............................................................................... 95
      Plaintiff’s Proposal: Noerr-Pennington Immunity ................................................................... 95
      Defendants’ Proposal: First Amendment Immunity ................................................................. 96
   PROPOSED JURY INSTRUCTION NO. 63 ............................................................................... 98
      Partially Agreed: Accord and Satisfaction ................................................................................ 98
   PROPOSED JURY INSTRUCTION NO. 64 ............................................................................. 100
      Defendants’ Proposal: Collateral Estoppel ............................................................................. 100
      Plaintiff’s Proposal: (No Instruction)...................................................................................... 100
   PROPOSED JURY INSTRUCTION NO. 65 ............................................................................. 101
      Agreed: Waiver ....................................................................................................................... 101
   PROPOSED JURY INSTRUCTION NO. 66 ............................................................................. 102
      Agreed: Plaintiff’s Duty to Mitigate Damages ....................................................................... 102
   PROPOSED JURY INSTRUCTION NO. 67 ............................................................................. 103
      Agreed: Rendering a Verdict .................................................................................................. 103
   JURY VERDICT FORMS.......................................................................................................... 105
      Plaintiff’s Proposed Jury Verdict Form .................................................................................. 105
         JURY VERDICT FORM..................................................................................................... 106



                                                                        6
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 7 of 131 PageID# 16770




     Defendants’ Proposed Jury Verdict Forms ............................................................................. 112
       SPECIAL VERDICT FORM (RICO) ................................................................................. 113
       SPECIAL VERDICT FORM (STATE CLAIMS) .............................................................. 116
       SPECIAL VERDICT FORM (AFFIRMATIVE DEFENSES) ........................................... 119




                                                               7
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 8 of 131 PageID# 16771




                              PROPOSED JURY INSTRUCTION NO. 1

                                    Agreed: Preliminary Instructions

           Members of the jury, the order of the trial of this case will be in four stages:

           1.     Opening statements;

           2.     Presentation of the evidence;

           3.     Instructions of law; and

           4.     Final argument.

           After the conclusion of final argument, I will instruct you concerning your deliberations.

   You will then go to your room, select a foreperson, deliberate, and arrive at your verdict.

           The plaintiff's attorney may make an opening statement outlining the plaintiff's case. Then

   the defendant's attorney also may make an opening statement. Neither side is required to do so.

           Following the opening statements, the plaintiff will introduce evidence, after which the

   defendant then has the right to introduce evidence (but is not required to do so). Rebuttal evidence

   may then be introduced if appropriate.

           At the conclusion of all evidence, I will instruct you on the law which is to be applied to

   this case.

           Once the evidence has been presented and you have been instructed on the law, then the

   attorneys may make their closing arguments. The plaintiff's attorney will argue first, the

   defendant's attorney may reply, and the plaintiff's attorney may close in rebuttal.

           Members of the jury, your function in the trial of this case is to reach a unanimous verdict

   that is based solely on the evidence and the instructions of law which you will be given after all

   the evidence has been presented. The law applicable to this case is given to you in these instructions




                                                     8
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 9 of 131 PageID# 16772




   and in the other instructions you will receive at the close of all evidence, and it is your duty to

   follow all such instructions.

          No statement or ruling or remark that I may make during the course of the trial is intended

   to indicate my opinion as to what the facts are. It is the function of the jury to consider the evidence

   and determine the facts in this case. The evidence which you are to consider consists of testimony

   of witnesses, any exhibits admitted into evidence, and any facts agreed upon between the parties

   and presented to you in the form of a stipulation. The admission of evidence in court is governed

   by rules of law. From time to time, it may be the duty of the attorneys to make objections, and it

   is my duty as judge to rule on those objections and decide whether or not you can consider certain

   evidence. You must not consider testimony or exhibits to which an objection was sustained or

   which has been ordered stricken. If an objection is overruled, then you may consider that evidence

   together with all other evidence in the case. The opening statements and closing arguments of the

   attorneys are intended to help you in understanding the evidence and in applying the law, but their

   statements are not evidence.

          In your determination of what the facts are, you alone must determine the credibility of the

   witnesses and the weight of the evidence. You may consider the appearance and manner of the

   witnesses on the stand, their intelligence, their opportunity for knowing the truth and for having

   observed the things about which they testified, their interest in the outcome of the case, their bias,

   and, if any have been shown, their prior inconsistent statements, or whether they have knowingly

   testified untruthfully as to any material fact in the case. You should not arbitrarily disregard

   believable testimony of a witness. However, after you have considered all the evidence in the case,

   then you may accept or discard all or part of the testimony of a witness as you think proper. You

   should use your common sense in considering the evidence, and you may draw reasonable




                                                      9
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 10 of 131 PageID# 16773




   inferences from that evidence; but in doing so, you should not indulge in guesswork or speculation.

   From consideration of these things and all the other circumstances of the case, you should

   determine which witnesses are more believable and weigh their testimony accordingly. Until this

   case is submitted to you for your deliberations, you should not decide any issue in the case, and

   you should not discuss the case with anyone or remain within hearing of anyone who is discussing

   it. This includes discussing the case in person, in writing, by phone or electronic means, via text

   messaging, e-mail, Facebook, Twitter, blogging or any Internet chat room, web site, social media,

   or other means. There will be occasional recesses during the trial. During the recesses, you should

   not discuss the case with your fellow jurors or go to the scene or make any independent

   investigation or receive any information about the case from radio, television, or the newspapers.

   Once your deliberations commence, then you must discuss the case only in the jury room when all

   the members of the jury are present. You are to decide this case solely on the evidence presented

   in this courtroom, and not on the basis of anything anyone who hasn't heard the evidence may

   think about this case. If you are asked or approached in any way about your jury service or anything

   about this case prior to rendering a verdict, you should respond that you have been ordered by the

   judge not to discuss the matter, and you should report the contact to the court as soon as possible.

          Do not attempt at any time prior to the conclusion of the case to research any fact, issue,

   or law related to this case, whether by discussion with others, by research in a library or on the

   Internet, or by any other means or source, including dictionaries, reference books, or anything on

   the Internet. You must not use Internet maps, or any other program or device to search for and

   view any location discussed in the testimony. You must not search for any information about the

   case, or the law which applies to the case, or the people involved in the case, including the parties,

   the witnesses, the lawyers, or the judge. Your sworn duty is to decide the case solely and wholly




                                                    10
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 11 of 131 PageID# 16774




   on the evidence presented in this courtroom. You must not communicate with anyone about the

   case by any other means, including by telephone, text messages, email, internet chat or chat rooms,

   blogs, or social web sites. I expect you will inform me if you become aware of another juror's

   violation of these instructions.

           Just prior to your deliberations, you will be given final instructions with regard to your

   selection of a leader, the conduct of your deliberations, and the forms for your verdict.

           The faithful and proper performance by you of your duty is vital to the administration of

   justice. On behalf of the court and the litigants, we appreciate your giving your complete attention

   to the case as it is presented.

   Supporting Authority:

   Virginia Model Jury Instruction No. 2.000.




                                                    11
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 12 of 131 PageID# 16775




                              PROPOSED JURY INSTRUCTION NO. 2

                   Agreed: General Instructions: Province of the Court and Jury

           Now that you have heard all of the evidence that is to be received in this trial and each of

   the arguments of counsel, it becomes my duty to give you the final instructions of the Court as to

   the law that is applicable to this case. You should consider these instructions to guide you in your

   decisions.

           All of the instructions of law given to you by the Court—those given to you at the

   beginning of the trial, those given to you during the trial, and these final instructions—must guide

   and govern your deliberations.

           It is your duty as jurors to follow the law as stated in all of the instructions of the Court and

   to apply these rules of law to the facts as you find them from the evidence received during the trial.

           Counsel have properly referred to some of the applicable rules of law to you in their closing

   arguments. If, however, any difference appears to you between the law as stated by counsel and

   that as stated by the Court in these instructions, you are to be governed by the instructions given

   to you by the Court.

           You are not to single out any one instruction alone as stating the law but must consider the

   instructions as a whole in reaching your decisions. Neither are you to be concerned with the

   wisdom of any rule of law stated by the Court.

           Regardless of any opinion you may have as to what the law ought to be, it would be a

   violation of your sworn duty to base any part of your verdict upon any other view or opinion of

   the law than that being given in these instructions, just as it would be a violation of your sworn

   duty as the judges of the facts to base your verdict upon anything but the evidence received in the

   case.




                                                      2
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 13 of 131 PageID# 16776




          You were chosen as jurors for this trial in order to evaluate all of the evidence received and

   to decide each of the factual questions presented by the allegations brought by the Plaintiff, Navient

   Solutions, LLC, in its Complaint and the denial of those allegations by the Defendants, The Law

   Offices of Jeffrey Lohman, Jeffrey Lohman, Jeremy Branch, Rick Graff, Gregory Trimarche, and

   GST Factoring, Inc.

          In resolving the issues presented to you for decision in this trial, you must not be persuaded

   by bias, prejudice, or sympathy for or against any of the parties to this case or by any public

   opinion.

          Justice through trial by jury depends upon the willingness of each individual juror to seek

   the truth from the same evidence presented to all the jurors here in the courtroom and then to arrive

   at a verdict by applying the same rules of law as are now being given to each of you in these

   instructions.

   Supporting Authority:

   Kevin F. O’Malley, Jay E. Grenig, and Hon. William C. Lee, Federal Jury Practice and
   Instructions: Civil, § 103:01 (6th ed. 2011) (hereinafter “O’Malley 6th ed.”).




                                                     3
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 14 of 131 PageID# 16777




                             PROPOSED JURY INSTRUCTION NO. 3

                        Agreed: Unanimity and Disagreement Among Jurors

          The verdict must represent the considered judgment of each of you. In order to return a

   verdict, it is necessary that each juror agree. Your verdict must be unanimous. At any time during

   your deliberations, you may submit to the Court your verdict as to any party concerning whom

   you have unanimously agreed. It is your duty, as jurors, to consult with one another, and to

   deliberate with a view to reaching an agreement, if you can do so without disregard of individual

   judgment. You must each decide the case for yourself, but only after an impartial consideration

   of the evidence in the case with your fellow jurors. In the course of your deliberations, do not

   hesitate to reexamine your own views, and change your opinion, if convinced it is erroneous. But

   do not surrender your honest conviction as to the weight or effect of evidence, solely because of

   the opinion of your fellow jurors, or for the mere purpose of returning a verdict. Remember at all

   times that you are not partisans. You are judges of the facts. Your sole interest is to seek the truth

   from the evidence in the case.

   Supporting Authority:

   O’Malley 6th ed., §§ 106:01, 106:03.




                                                     4
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 15 of 131 PageID# 16778




                              PROPOSED JURY INSTRUCTION NO. 4

                                   Agreed: Parties of Equal Standing

             You should consider and decide this case as a dispute between persons of equal standing

   in the community, of equal worth, and holding the same or similar stations in life. A corporation

   is entitled to the same fair trial as a private individual. All persons, including Plaintiff Navient,

   and Defendants The Law Offices of Jeffrey Lohman, Jeffrey Lohman, Jeremy Branch, Rick Graff,

   Gregory Trimarche, and GST Factoring, Inc., stand equal before the law, and are to be treated as

   equals.

   Supporting Authority:

   O’Malley 6th ed., § 103:12.




                                                    5
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 16 of 131 PageID# 16779




                               PROPOSED JURY INSTRUCTION NO. 5

                                             Agreed: Sympathy

           Under your oath as jurors you are not to be swayed by sympathy. You should be guided

   solely by the evidence presented during the trial, without regard to the consequences of your

   decision. You have been chosen to try the issues of fact and reach a verdict on the basis of the

   evidence or lack of evidence. If you let sympathy interfere with your clear thinking there is a risk

   that you will not arrive at a just verdict. All parties to a civil lawsuit are entitled to a fair trial. You

   must make a fair and impartial decision so that you will arrive at the just verdict.

   Supporting Authority:

   Sand, Siffert, Loughlin, Reiss, Allen and Rakoff, Modern Federal Jury Instructions-Civil P 71-8
   (2021) (hereinafter “Modern Federal Jury Instructions”).




                                                        6
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 17 of 131 PageID# 16780




                             PROPOSED JURY INSTRUCTION NO. 6

                                      Agreed: Common Counsel

          Although some of the defendants in this trial are being represented by the same counsel,

   you are not to treat them as one person. Each defendant is entitled to your separate consideration.

   The question of whether liability has been proven is personal to each defendant and must be

   decided by you as to each defendant individually. (If applicable: Similarly, you must decide the

   amount of damages separately as to each party.)

          You may have noticed throughout the trial that counsel for various defendants have

   consulted with each other and have divided the work of the trial in an effort to facilitate their

   presentation and to avoid duplication. This does not mean that the defendants’ cases are to be

   viewed together. Again, the issue of each defendant’s liability is personal and must be decided by

   you as to each defendant individually.

   Supporting Authority:

   Modern Federal Jury Instructions, Instruction 71-10.




                                                     7
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 18 of 131 PageID# 16781




                           PROPOSED JURY INSTRUCTION NO. 7

                                   Agreed: Juror Note-Taking

          You may use the notes taken by you during the trial. However, the notes should not be

   substituted for your memory. Remember, notes are not evidence. If your memory should differ

   from your notes, then you should rely on your memory and not your notes.

   Supporting Authority:

   O’Malley 6th ed., § 103:02.




                                                 8
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 19 of 131 PageID# 16782




                             PROPOSED JURY INSTRUCTION NO. 8

                   Agreed: Juror Use of Electronic Communication Technologies

          During your deliberations, you must not communicate with or provide any information to

   anyone by any means about this case. You may not use any electronic device or media, such as a

   telephone, cell phone, smart phone, iPhone, Blackberry or computer, the Internet, any Internet

   service, or any text or instant messaging service, or any Internet chat room, blog, or website such

   as Facebook, Twitter, Instagram, or YouTube, to communicate to anyone any information about

   this case or to conduct any research about this case until after I accept your verdict.

   Supporting Authority:

   O’Malley 6th ed., § 103:04.




                                                     9
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 20 of 131 PageID# 16783




                             PROPOSED JURY INSTRUCTION NO. 9

         Agreed: Communications Between Court and Jury During Jury’s Deliberations

          If it becomes necessary during your deliberations to communicate with me, you may send

   a note by a bailiff, signed by your foreperson or by one or more members of the jury. No member

   of the jury should ever attempt to communicate with me by any means other than a signed writing.

   I will never communicate with any member of the jury on any subject touching the merits of the

   case otherwise than in writing, or orally here in open court.

          The bailiffs, as well as all other persons, are forbidden to communicate in any way or

   manner with any member of the jury on any subject touching the merits of the case. Bear in mind

   also that you are never to reveal to any person—not even to me—how the jury stands, numerically

   or otherwise, on the questions before you, until after you have reached a unanimous verdict.

   Supporting Authority:

   O’Malley 6th ed., § 106:08.




                                                    10
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 21 of 131 PageID# 16784




                             PROPOSED JURY INSTRUCTION NO. 10

                                     Agreed: Evidence in the Case

           Unless you are otherwise instructed, the evidence in the case consists of the sworn

   testimony of the witnesses regardless of who called the witness, all exhibits received in evidence

   regardless of who may have produced them, and all facts and events that may have been admitted

   or stipulated to.

           Statements and argument by the lawyers are not evidence. The lawyers are not witnesses.

   What they have said in their opening statements, closing arguments, and at other times is intended

   to help you understand the evidence, but it is not evidence. However, when the lawyers on both

   sides stipulated or agree on the existence of a fact, unless otherwise instructed, you must accept

   the stipulation and regard that fact as proved.

           Sometimes evidence may be admitted concerning only a particular party or only for a

   particular purpose and not generally against all parties or for all purposes. For the limited purpose

   for which this evidence has been received you may give it such weight as you feel it deserves.

   You may not, however, use this evidence for any other purpose or against any party not specifically

   mentioned.

           Any evidence to which I have sustained an objection and evidence that I have ordered

   stricken must be entirely disregarded. You must treat stricken evidence as though you had never

   heard or known of it.

           The law permits me to comment on the evidence in the case. These comments are only an

   expression of my opinion as to the facts. You may disregard my comments entirely, since you, as

   jurors are the sole judges of the facts and are not bound by my comments or opinions.

   Supporting Authority:




                                                     11
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 22 of 131 PageID# 16785




   O’Malley 6th ed., §§ 102:45, 103:30, 103:33, 10442.




                                                12
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 23 of 131 PageID# 16786




                            PROPOSED JURY INSTRUCTION NO. 11

                            Agreed: Direct and Circumstantial Evidence

          Generally, there are two types of evidence presented during a trial—direct evidence and

   circumstantial evidence. “Direct evidence” is the testimony of a person who asserts or claims to

   have actual knowledge of a fact, such as an eyewitness. “Indirect or circumstantial” evidence is

   proof of a chain of facts and circumstances indicating the existence or nonexistence of a fact.

          The law generally makes no distinction between the weight or value to be given to either

   direct or circumstantial evidence. A greater degree of certainty is not required of circumstantial

   evidence. You are required to find the facts in accordance with the preponderance of all the

   evidence in the case, both direct and circumstantial.

   Supporting Authority:

   O’Malley 6th ed., § 104:05.




                                                   13
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 24 of 131 PageID# 16787




                             PROPOSED JURY INSTRUCTION NO. 12

                                 Agreed: Discrepancies in Testimony

          As members of the jury, you are the sole and exclusive judges of the facts. You pass upon

   the evidence. You determine the credibility of the witnesses. You resolve such conflicts as there

   may be in the testimony. You draw whatever reasonable inferences you decide to draw from the

   facts as you have determined them, and you determine the weight of the evidence.

          In determining these issues, no one may invade your province or functions as jurors. In

   order for you to determine the facts, you must rely upon your own recollection of the evidence.

   What the lawyers have said in their opening statements, in their closing arguments, in their

   objections, or in their questions is not evidence. Nor is what I may have said about a fact or issue—

   or what I may say in these instructions—evidence. In this connection, you should bear in mind that

   a question put to a witness is never evidence, it is only the answer which is evidence. But you may

   not consider any answer that I directed you to disregard or that I directed struck from the record.

   Do not consider such answers.

          Since you are the sole and exclusive judges of the facts, I do not mean to indicate any

   opinion as to the facts or what your verdict should be. The rulings I have made during the trial are

   not any indication of my views of what your decision should be as to whether or not the Plaintiff

   or Defendant has proven its case.

          I also ask you to draw no inference from the fact that upon occasion I asked questions of

   certain witnesses. These questions were only intended for clarification or to expedite matters and

   certainly were not intended to suggest any opinions on my part as to the verdict you should render,

   or whether any of the witnesses may have been more credible than any other witnesses. You are

   expressly to understand that the court has no opinion as to the verdict you should render in this




                                                    14
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 25 of 131 PageID# 16788




   case.

           As to the facts, you are the exclusive judges. You are to perform the duty of finding the

   facts without bias or prejudice to any party.

   Supporting Authority:

   Modern Federal Jury Instructions, Instruction 71-3.




                                                   15
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 26 of 131 PageID# 16789




                            PROPOSED JURY INSTRUCTION NO. 13

                               Agreed: Use of Depositions as Evidence

          During the trial, certain testimony has been presented by way of deposition. The deposition

   consisted of sworn, recorded answers to questions asked of the witness in advance of the trial. The

   testimony of a witness who, for some reason, is not present to testify from the witness stand, may

   be presented in writing under oath or on a videotape. Such testimony is entitled to the same

   consideration and is to be judged as to credibility, and weighed, and otherwise considered by you,

   insofar as possible, in the same way as if the witness had been present and had testified from the

   witness stand.

   Supporting Authority:

   O’Malley 6th ed., § 105:02.




                                                   16
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 27 of 131 PageID# 16790




                             PROPOSED JURY INSTRUCTION NO. 14

                                  Agreed: Expert Opinion Evidence

          An expert witness is a person who by education and experience has become expert in some

   art, science, profession, or calling. Expert witnesses give their opinions as to matters in which

   they profess to be expert, and may also state their reasons for their opinions.

          You should consider each expert opinion received in evidence in this case, and give it such

   weight as you think it deserves. If you should decide the opinion of an expert witness is not based

   upon sufficient education and experience, or if you should conclude the reasons given in support

   of the opinion are not sound, or if you feel the expert's opinion is outweighed by other evidence,

   you may disregard the opinion entirely.

   Supporting Authority:

   O’Malley 6th ed., § 104:40.




                                                    17
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 28 of 131 PageID# 16791




                            PROPOSED JURY INSTRUCTION NO. 15

                                          Agreed: Inferences

          You are to consider only the evidence in the case. However, you are not limited to the

   statements of the witnesses. You may draw from the facts you find have been proved such

   reasonable inferences as seem justified in light of your experience.

          “Inferences” are deductions or conclusions that reason and common sense lead you to draw

   from facts established by the evidence in the case.

   Supporting Authority:

   O’Malley 6th ed., § 104:20.




                                                   18
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 29 of 131 PageID# 16792




                             PROPOSED JURY INSTRUCTION NO. 16

                    Agreed: Impeachment: Inconsistent Statements or Conduct

          A witness may be discredited or impeached by contradictory evidence or by evidence that

   at some other time the witness has said or done something, or has failed to say or do something,

   that is inconsistent with the witness’s present testimony.

          If you believe any witness has been impeached and thus discredited, you may give the

   testimony of that witness such credibility, if any, you think it deserves.

          If a witness is shown knowingly to have testified falsely about any material matter, you

   have a right to distrust such witness’s other testimony and you may reject all the testimony of that

   witness or give it such credibility as you may think it deserves.

          An act or omission is “knowingly” done, if the act is done voluntarily and intentionally,

   and not because of mistake or accident or other innocent reason.

   Supporting Authority:

   O’Malley 6th ed., § 105:04.




                                                    19
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 30 of 131 PageID# 16793




                            PROPOSED JURY INSTRUCTION NO. 17

                           Agreed: Prior Inconsistent Statement by Party

          If you believe from the evidence that a party previously made a statement inconsistent with

   his testimony at this trial, that previous statement may be considered by you as evidence that what

   the party previously said was true.

   Supporting Authority:

   Virginia Model Jury Instruction No. 2.135.




                                                   20
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 31 of 131 PageID# 16794




                             PROPOSED JURY INSTRUCTION NO. 18

                                       Agreed: Adverse Witness

          The plaintiff called the defendant as an adverse witness. The plaintiff is bound by as much

   of the defendant's testimony given as an adverse witness as is clear, logical, reasonable, and

   uncontradicted.

          The plaintiff is not bound by any of the defendant's testimony given as an adverse witness

   that conflicts with any of the other evidence in the case.

   Supporting Authority:

   Virginia Model Jury Instruction No. 2.030.




                                                    21
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 32 of 131 PageID# 16795




                            PROPOSED JURY INSTRUCTION NO. 19

                           Agreed: Party Bound by His Own Testimony

          When one of the parties testifies unequivocally to facts within his own knowledge, those

   statements of fact and the necessary inferences from them are binding upon him. He cannot rely

   on other evidence in conflict with his own testimony to strengthen his case.

          However, you must consider his testimony as a whole, and you must consider a statement

   made in one part of his testimony in the light of any explanation or clarification made elsewhere

   in his testimony.

   Supporting Authority:

   Virginia Model Jury Instruction No. 2.1060.




                                                  22
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 33 of 131 PageID# 16796




                             PROPOSED JURY INSTRUCTION NO. 20

                              Agreed: Amount Sued for Is Not Evidence

          Any amount of damages requested is not evidence in this case; you should not consider it

   as evidence in arriving at your verdict.

   Supporting Authority:

   Virginia Model Jury Instruction No. 2.180.




                                                 23
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 34 of 131 PageID# 16797




                             PROPOSED JURY INSTRUCTION NO. 21

                                       Agreed: Burden of Proof

          Some of Navient’s claims must be proven by a “preponderance of the evidence,” whereas

   other claims made by Navient must be proven by “clear and convincing evidence.” I will identify

   for you which claims need to be proven by each standard.

          Defendants bear the burden of proving their affirmative defenses. Defendants must

   establish their affirmative defenses by a preponderance of the evidence.

          Some of you may have heard of “proof beyond a reasonable doubt,” which is the proper

   standard of proof in a criminal trial. That requirement does not apply to a civil case such as this,

   and you should put it out of your mind.

          To establish a fact by a “preponderance of the evidence” means to prove that the fact is

   more likely true than not true. A preponderance of the evidence means the greater weight of the

   evidence. It refers to the quality and persuasiveness of the evidence, not to the number of witnesses

   or documents. In determining whether a claim has been proven by a preponderance of the

   evidence, you may consider the relevant testimony of all witnesses, regardless of who called them,

   and all the relevant exhibits received in evidence, regardless of who produced them.

          If you find that the credible evidence on a given issue is evenly divided between the

   parties—that it is equally probable that one side is right as it is that the other side is right—then

   you must decide that issue against the party having this burden of proof. That is because the party

   bearing this burden must prove more than simply equality of the evidence. The party must prove

   the element at issue by a preponderance of the evidence. On the other hand, the party with this

   burden of proof need prove no more than a preponderance. So long as you find that the scales tip,

   however slightly, in favor of the party with the burden of proof—that what the party claims is more




                                                    24
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 35 of 131 PageID# 16798




   likely true than not true—then the element will have been proven by a preponderance of the

   evidence.

          In contrast to the “preponderance of the evidence” standard, “clear and convincing

   evidence” is a more exacting standard. Clear and convincing, however, is not as high a standard

   as the burden of proof applied in criminal cases, which is proof beyond a reasonable doubt.

          Clear and convincing evidence proof leaves no substantial doubt in your mind. It is proof

   that establishes in your mind not only that the proposition at issue is probable but also that it is

   highly probable. It is enough if the party with the burden of proof establishes his claim beyond

   any “substantial doubt”; it does not have to dispel every “reasonable doubt.”

   Supporting Authority:

   O’Malley 6th ed., §§ 104:01, 104:02.

   Breeden v. Weinberger, 493 F.2d 1002, 1006 (4th Cir. 1974).

   Colorado v. New Mexico, 467 U.S. 310, 316 (1984).

   CSX Transp., Inc. v. Gilkison, 5:05-cv-202, 2012 WL 1598081 (N.D. W. Va. May 3, 2012).




                                                   25
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 36 of 131 PageID# 16799




                            PROPOSED JURY INSTRUCTION NO. 22

                       Plaintiff’s Proposal: Introduction to Plaintiff’s Claims

          This matter involves claims by Navient Solutions, LLC, which I will refer to as “Navient,”

   that the Defendants committed fraud in violation of a federal law as well as state law. These claims

   are set out in five separate counts in Navient’s complaint.

          Count 1 asserts that Defendants Jeffrey Lohman, and Jeremy Branch participated in a

   pattern of racketeering activity in violation of RICO by using the mail and wires to send demand

   letters to Navient on behalf of clients whom they did not represent; letters to Navient stating an

   intent to negotiate their purported clients’ debt with Navient, when they had no such intention; and

   letters to Navient in which they stated they were attempting to verify a disputed debt when no valid

   basis for disputing the debt existed; and by counseling their clients to provide false testimony in

   depositions. Navient also claims that Lohman and Branch used the resources of the Law Offices

   of Jeffrey Lohman to carry out this pattern of racketeering activity.

          Count 2 asserts that all of the Defendants participated in a pattern of racketeering activity

   in violation of RICO by using the mail and wires. Navient claims that Defendants contacted

   student loan holders, misrepresented the nature of their services and misleadingly stated that they

   would negotiate with Navient regarding their student loans, and told consumers they their debt

   relief program was 100-percent effective and that their credit would not be harmed. Navient

   further claims that Graff and Trimarche utilized the resources of GST Factoring to carry out the

   pattern of racketeering activity. In addition, Navient claims that Defendants Jeffrey Lohman and

   Jeremy Branch participated in the same pattern of racketeering by signing, causing to be signed,

   sending, and/or causing to be sent fraudulent communications and discovery filings that induced

   Navient to settle various legal claims and/or deceived adjudicators regarding the facts of pending




                                                   26
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 37 of 131 PageID# 16800




   legal cases; and that Branch and Lohman induced their clients to make false statements via

   telephone to Navient customer service agents, counseled their clients to provide false testimony

   during their depositions, and filed legal actions without their clients’ authorization, while falsely

   representing that they had such authorization. Navient further claims that Lohman and Branch

   utilized the resources of the Law Offices of Jeffrey Lohman to carry out the pattern of racketeering

   activity. Navient also claims that all of the Defendants used the wires to collect sums from

   consumers that otherwise would have been paid to Navient.

          Count 3 asserts that all of the Defendants conspired to violate RICO by conducting or

   participating by agreeing together to violate RICO in the manner described above.

          Count 4 asserts that Defendants Jeffrey Lohman, Jeremy Branch, and the Law Offices of

   Jeffrey Lohman engaged in fraud under the laws of Virginia by falsely representing in various

   demand letters sent to Navient that they represented certain clients when no such representation

   existed, that they intended to negotiate their clients’ debts when they had no such intention, and

   that they were seeking to verify disputed debts when no grounds for dispute existed, and by making

   various false representations in communications and other legal papers that induced Navient to

   settle certain legal claims and/or deceived adjudicators on the facts of pending cases.

          Count 5 asserts that all of the Defendants engaged in tortious interference with contract or

   business expectancy by inducing student loan holders—including ones who were not behind on

   their payments—to stop making payments, go into default, and trigger telephone calls from

   Navient that arguably violated a law against automatic calls.

   Supporting Authority:

   O’Malley 6th ed., §§ 101:03, 123:01, 127:01, 161:01.




                                                    27
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 38 of 131 PageID# 16801




                               Defendants’ Proposal: (No Instruction)

          The Lohman Defendants propose that no instruction be given. If such an instruction is

   given, then in fairness, the Lohman Defendants should be allowed to introduce the jury to their

   defenses and the following language should be included in the instruction:

               Defendants’ Proposal: Introduction to Lohman Defendants’ Defenses

          In response to Plaintiff’s Claims, the Lohman Defendants contend that they had no

   knowledge of activities of GST Factoring, Graff, or Trimarche. The Lohman Defendants received

   no money from and paid no money to GST Factoring, Graff, or Trimarche. The Lohman

   Defendants were referred potential clients from David Mize who were experiencing harassing

   phone calls from Navient. The Lohman Defendants subsequently agreed to represent some of those

   clients and brought claims under the Telephone Consumer Protection Act (“TCPA”) on behalf of

   those clients against Navient. All of the TCPA claims brought by the Lohman Defendants were

   diligently researched. The Lohman Defendants brought the claims only if they were authorized to

   do so by the clients and only if there was a good-faith basis for the claims under then-existing law.

   The Lohman Defendants litigated these claims as any lawyer would. Throughout the underlying

   TCPA litigation, Navient asserted that the TCPA claims were “manufactured” by the Lohman

   Defendants but never claimed that the TCPA claims were frivolous or without merit.

          The TCPA claims that serve as the basis for Navient’s damage claim in this matter were

   all eventually resolved. Many were dismissed pursuant to agreements that were voluntarily reached

   by Navient and the Lohman Defendants’ clients. Many were settled pursuit to agreements entered

   into between Navient and the Lohman Defendants’ clients. To the extent that claims were resolved

   through adjudication, some of the TCPA claims were decided in favor of the Lohman Defendants’

   clients, some were decided in favor of Navient. Regardless of its voluntarily agreements to dismiss




                                                    28
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 39 of 131 PageID# 16802




   or settle these cases, and regardless of the conclusions reached by the various adjudications,

   Navient now seeks to hold the Lohman Defendants’ liable for the amount of money paid by

   Navient to resolve those TCPA claims.

          The Lohman Defendants contend that all of their TCPA claims were brought with the intent

   to hold Navient liable for its violations of the TCPA, as the Lohman Defendants interpreted the

   then-existing legal standards, and were not brought with the intention to defraud Navient or

   tortiously interfere with any contract. The Lohman Defendants further contend, among other

   things, that Navient’s claims are barred by the right to petition the courts, as secured by First

   Amendment, are barred by the parties’ prior settlement agreements, are barred by the prior

   decisions of adjudicators, and/or were waived by Navient.




                                                  29
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 40 of 131 PageID# 16803




                            PROPOSED JURY INSTRUCTION NO. 23

                         Agreed: The Nature of Racketeering under RICO

          Although RICO uses the terms “racketeer,” “racketeering,” and “corrupt organizations,”

   Congress did not mean that Navient must prove that any Defendant is a “racketeer” or a member

   of what is commonly referred to as “organized crime” to recover damages. You should not assume

   that The Law Offices of Jeffrey Lohman, Jeffrey Lohman, Jeremy Branch, Rick Graff, Gregory

   Trimarche, or GST Factoring, Inc. are “racketeers” simply because they have been sued under

   RICO. Use of the terms “racketeering,” “racketeer,” or “corrupt organization” in RICO and during

   this trial should not be thought of as having anything to do with your determination of whether

   Navient has established the elements of its claim.

          In addition, Navient must prove each element of a RICO violation as those elements will

   be explained to you. I will explain those elements to you, and I will also explain the difference

   between someone who violates RICO by conducting the affair of an enterprise through a pattern

   of racketeering and someone who violates RICO by conspiring to conduct the affair of an

   enterprise through a pattern of racketeering.

   Supporting Authority:

   Kevin F. O’Malley, Jay E. Grenig, and Hon. William C. Lee, Federal Jury Practice and
   Instructions: Civil, § 161:01, 161:02 (5th ed. 2001) (hereinafter “O’Malley 5th ed.”).




                                                   30
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 41 of 131 PageID# 16804




                            PROPOSED JURY INSTRUCTION NO. 24

                                  Agreed: RICO: Section 1962(c)

          In Counts 1 and 2 of its Complaint, Navient claims that The Law Offices of Jeffrey

   Lohman, Jeremy Branch, Rick Graff, Gregory Trimarche, and GST Factoring violated Section

   1962(c) of Title 18 of the United States Code, the RICO Act. That provision states:

          It shall be unlawful for any person employed by or associated with any enterprise engaged
          in, or the activities of which affect, interstate or foreign commerce, to conduct or
          participate, directly or indirectly, in the conduct of such enterprise's affairs through a
          pattern of racketeering activity . . . .

   Supporting Authority:

   18 U.S.C. § 1962(c).

   O’Malley, 5th ed., § 161:12.

   Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 498 (1985).




                                                  31
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 42 of 131 PageID# 16805




                            PROPOSED JURY INSTRUCTION NO. 25

                          Agreed: Elements of a Section 1962(c) Violation

          Section 1962(c) of RICO prohibits the conduct of an enterprise through a pattern of

   racketeering activity. To show that the Defendants have violated section 1962(c), Navient must

   prove each of the following elements by a preponderance of the evidence:

          First, that the existence of an enterprise affecting interstate or foreign commerce;

          Second, that the Defendants were employed by or associated with the enterprise;

          Third, that the Defendants conducted or participated in the conduct of the enterprise’s

   affairs; and

          Fourth, that the Defendants’ participation was through a pattern of racketeering activity.

   Supporting Authority:

   18 U.S.C. § 1962(c).

   O’Malley 5th ed., § 161:22.

   Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 661 (2008).

   Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 (1985).

   CSX Transp., Inc. v. Gilkison, 5:05-cv-202, 2012 WL 1598081 (N.D. W. Va. May 3, 2012).




                                                   32
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 43 of 131 PageID# 16806




                             PROPOSED JURY INSTRUCTION NO. 26

                           Plaintiff’s Proposal: Definition of “Enterprise”

          For purposes of the RICO statute, an “enterprise” includes any individual, partnership,

   corporation, association, or other legal entity. An enterprise may also be any group of individuals

   associated in fact although not a legal entity. Proof that an entity has a legal existence, such as a

   corporation or a partnership, satisfies the definition of an enterprise. Navient has alleged an

   association-in-fact enterprise. A group otherwise qualifies as an association-in-fact if it possesses

   the following three characteristics:

          First, that the members of the group share a common purpose;

          Second, that the members of the group have some relation with one another; and

          Third, that the group possesses sufficient longevity to permit the members to pursue the

   enterprise’s purpose.

          The existence of an enterprise is an element distinct from the pattern of racketeering

   activity, and proof of one does not necessarily establish proof of the other. However, the evidence

   used to prove the pattern of racketeering activity and the evidence used to prove an enterprise may

   coalesce.

          An enterprise “affects interstate or foreign commerce” if the enterprise either engages in

   or pursues activities affecting commerce between the states or between the states and foreign

   countries. Proof of a minimal effect on interstate commerce will sustain the Plaintiff’s burden.

   Supporting Authority:

   O’Malley 5th ed., §§ 161:41, 161:42.

   Boyle v. United States, 556 U.S. 938, 946-47 (2009).

   United States v. Fernandez, 388 F.3d 1199, 1218 (9th Cir. 2004).




                                                    33
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 44 of 131 PageID# 16807




                          Defendants’ Proposal: Definition of “Enterprise”

          A section 1962(c) claim is not against a RICO enterprise, but against a RICO

   defendant(s). 1 For purposes of section 1962(c), the enterprise is the vehicle used by the

   defendant(s) to carry out the acts of racketeering. 2

          Navient claims that Defendants formed an association-in-fact enterprise. 3 Accordingly,

   Navient must prove by a preponderance of the evidence that:

          1.      Defendants shared a common purpose, which means a common venture,

                  undertaking or project. 4 The common purpose must enrich all members of the

                  group. 5 If the fruits of the venture enrich only some members of the enterprise,

                  then there is no common purpose. 6

          2.      That Defendants were related to each other4, and

          3.      That Defendants, as a group, possessed sufficient longevity to pursue their

                  common purpose. 4

          The existence of an enterprise is an element distinct from the pattern of racketeering

   activity, and proof of one does not necessarily establish proof of the other. 7 However, the

   evidence used to prove the pattern of racketeering activity and the evidence used to prove an

   enterprise may coalesce. 8

          An enterprise “affects interstate or foreign commerce” if the enterprise either engages in




   1
     Palmetto State Med. Ctr., Inc. v. Operation Lifeline, 117 F.3d 142, 148 (4th Cir. 1997)
   2
     United States v. Phillip Morris USA Inc., 566 F.3d 1095, 1111 (D.C. Cir. 2009).
   3
     ECF 100 at ¶¶ 297, 316.
   4
     Boyle v. United States, 556 U.S. 938, 946 (2009).
   5
     United States v. Pinson, 860 F.3d 152, 162 (4th Cir. 2017).
   6
     Id.
   7
     Boyle, 556 U.S. at 947.
   8
     Id.


                                                     34
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 45 of 131 PageID# 16808




   or pursues activities affecting commerce between the states or between the states and foreign

   countries. 9 Proof of a minimal effect on interstate commerce will sustain the plaintiff’s burden. 10




   9
       United States v. Fernandez, 388 F.3d 1199, 1218 (9th Cir. 2004).
   10
       Id. at 1249.


                                                    35
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 46 of 131 PageID# 16809




                             PROPOSED JURY INSTRUCTION NO. 27

                                  Agreed: Definition of “Association”

          The second element that the plaintiff must prove is that the defendant was associated with,

   or employed by, the enterprise.

          It is not required that the defendant have been employed by, or associated with, the

   enterprise for the entire time that the enterprise existed. It is required, however, that the plaintiff

   prove, by a preponderance of the evidence, that at some time during the period indicated in the

   complaint, the defendant in question was employed by, or associated with, the enterprise.

          A person cannot be associated with, or employed by, an enterprise, if he or she does not

   know of the enterprise’s existence or the nature of its activities. Thus, in order to prove this

   element, the plaintiff must prove, by a preponderance of the evidence, that the defendant was

   connected to the enterprise in some meaningful way and that the defendant knew of the existence

   of the enterprise and of the general nature of its activities but it is not necessary that a defendant

   be aware of all racketeering activities of each of the participants in the enterprise.

   Supporting Authority:

   Modern Federal Jury Instructions, Instruction 84-26.




                                                     36
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 47 of 131 PageID# 16810




                               PROPOSED JURY INSTRUCTION NO. 28

         Plaintiff’s Proposal: Definition of “To Participate in the Conduct of the Enterprise’s

                                                  Affairs”

            To “participate in the conduct of the enterprise's affairs” requires that a person has

   conducted or participated, directly or indirectly, in the conduct of the enterprise's affairs through a

   pattern of racketeering activity. To participate, directly or indirectly, in the conduct of the

   enterprise's affairs, the Defendant must participate in the operation or management of the

   enterprise itself. A person also participates in the operation of the affairs of the enterprise if he or

   she has some part in directing those affairs. RICO liability is not limited to those with primary

   responsibility for the enterprise’s affairs or to those with a formal position in the enterprise. An

   enterprise may be “operated” not just by upper management but also by lower-rung participants in

   the enterprise who are under the direction of upper management.

   Supporting Authority:

   O’Malley 5th ed., § 161:43.

   Reves v. Ernst & Young, 507 U.S. 170, 179 (1993).

   United States v. Johnson, 430 F.3d 383, 391 (6th Cir. 2005).

   Barky v. Metro Kitchen & Bath, Inc., 587 F. Supp. 2d 976, 988-89 (N.D. Ill. 2008).

        Defendants’ Proposal: Definition of “To Participate in the Conduct of the Enterprise’s
                                              Affairs”

            To “participate in the conduct of the enterprise's affairs” requires that a person has

   conducted or participated, directly or indirectly, in the conduct of the enterprise's affairs through a

   pattern of racketeering activity. 11 To participate, directly or indirectly, in the conduct of the




   11
        18 U.S.C. § 1962(c).


                                                     37
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 48 of 131 PageID# 16811




   enterprise's affairs, the defendant must participate in the operation or management of the enterprise

   itself. 12 A person also participates in the operation of the affairs of the enterprise if he or she has

   some part in directing those affairs. 13 RICO liability is not limited to those with primary

   responsibility for the enterprise’s affairs or to those with a formal position in the enterprise. 14 An

   enterprise may be “operated” not just by upper management but also by lower-rung participants in

   the enterprise who are under the direction of upper management. 15

           The operation or management test is, however, extremely rigorous. 16 A defendant,

   however, can only be liable under section 1962(c) if he was managing or operating the overall

   group. 17 A defendant does not operate or manage an enterprise by simply providing goods and

   services that ultimately benefit the enterprise. 18

           RICO does not penalize parallel, uncoordinated fraud. 19 The plaintiff must prove that the

   fraud was coordinated conduct performed on behalf of the enterprise. 20

           Moreover, when an attorney furnishes a client with ordinary professional assistance, the

   attorney will not normally rise to the level of operating or managing the enterprise. 21 Lawyers do

   not become racketeers by acting like lawyers. 22



   12
      Reves v. Ernst & Young, 507 U.S. 170, 183 (1993).
   13
      Id. at 179.
   14
      Id.
   15
      Id. at 183.
   16
      Democratic Nat’l Comm. v. Russian Federation, 392 F. Supp.3d 410, 441 (S.D.N.Y. 2019).
   17
      Id.
   18
      Id.
   19
      Rojas v. Delta Airlines, Inc., 425 F. Supp. 3d 524, 538 (D. Md. 2019) (quoting United Food &
   Comm. Wkrs. Union v. Walgreen Co., 719 F.3d 849, 855 (7th Cir. 2013)).
   20
      Connecticut Gen. Life Ins. Co. v. Advanced Surg. Ctr. of Bethesda, LLC, 2015 WL 4394408,
   *15 (D. Md. July 15, 2015).
   21
      Rivers v. United States, 2020 WL 6603457, *24 (W.D. Va. Nov. 10, 2020) (quoting Handeen
   v. Lemaire, 112 F.3d 1339, 1349 (8th Cir. 1997)).
   22
      See Terry A. Lambert Plumbing, Inc. v. Western Sec. Bank, 934 F.2d 976, 981 (8th Cir. 1991)
   (the court stated: “Bankers do not become racketeers by acting like bankers”) (citing Menasco,


                                                         38
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 49 of 131 PageID# 16812




                               PROPOSED JURY INSTRUCTION NO. 29

    Agreed: Definition of Participating in the Conduct of the Enterprise’s Affair “Through” a
                                 Pattern of Racketeering Activity

              A defendant must conduct their acts of racketeering “through” the enterprise, i.e., there

   must be some connection between the defendant’s predicate acts and the enterprise. 23 The

   “through” requirement is satisfied when the defendant uses his position in the enterprise to commit

   the racketeering acts or uses the resources, property, or facilities of the enterprise to commit the

   acts. 24

              A defendant does not conduct acts of racketeering “through” an enterprise where the

   defendant easily could have accomplished the scheme on its own with minimal assistance from

   other members of the enterprise. 25

   Supporting Authority:

   O’Malley 5th ed., § 161:43.




   Inc. v. Wasserman, 886 F.2d 681, 685 (4th Cir. 1989) (stating that courts should “prevent this
   type of ordinary commercial fraud from being transformed into a federal RICO claim”).
   23
      United States v. Marino, 277 F.3d 11, 27 (1st Cir.), cert. denied, 536 U.S. 948 (2002); see also
   United States v. Fuller, 2014 WL 4384061, *4 (E.D. Va. Sept. 4, 2014) (applying Marino).
   24
      Marino, 277 F.3d at 27-28.
   25
      Connecticut Gen. Life Ins. Co. v. Advanced Surg. Ctr. of Bethesda, LLC, 2015 WL 4394408,
   *15 (D. Md. July 15, 2015).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 50 of 131 PageID# 16813




                             PROPOSED JURY INSTRUCTION NO. 30

                        Partially Agreed: Racketeering Activity: Mail Fraud

          The term “racketeering activity,” as used in these instructions, includes the acts of mail and

   wire fraud. Navient contends that the Defendants violated RICO by committing acts of mail and

   wire fraud that constituted a pattern of racketeering activity.

          The mail fraud statute, Section 1341 of Title 18 of the United States Code, which Navient

   alleges that the Defendants violated, provides in pertinent part, that:

          Whoever, having devised or intending to devise any scheme or artifice to defraud, or for
          obtaining money or property by means of false or fraudulent pretenses, representations, or
          promises . . . for the purpose of executing such scheme or artifice or attempting so to do,
          places in any post office or authorized depository for mail matter, any matter or thing
          whatever to be sent or delivered by the Postal Service, [shall be guilty of an offense against
          the laws of the United States].

          Plaintiff’s Proposal: The crime of mail fraud is broad in scope and its fraudulent aspect is

   measured by a non-technical standard, condemning conduct which fails to conform to standards

   of moral uprightness, fundamental honesty, and fair play.

          The gravamen of mail fraud is the scheme to defraud and any mailing that is incident to an

   essential part of the scheme satisfies the mailing element, even if the mailing itself contains no

   false information. A scheme to defraud is one that is “contrary to public policy and conflicts with

   accepted standards of moral uprightness, fundamental honesty, fair play, and right dealing.26

   Defendants' association with others, who engaged in questionable conduct by not complying with

   regulations and laws, is relevant in proving that the defendant engaged in such a scheme.

   (Defendants would omit the final two paragraphs.)




   26
    CSX Transp., Inc v. Peirce, 974 F. Supp. 2d 927 (N.D. W. Va. 2013) ; United States v.
   Mandel, 591 F.2d 1347, 1360–61 (4th Cir.1979)


                                                    40
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 51 of 131 PageID# 16814




   Supporting Authority:

   18 U.S.C. § 1341.

   O’Malley 5th ed., § 161:14.

   Abels v. Farmers Comm. Corp., 259 F.3d 910, 918 (8th Cir. 2001).

   Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 647 (2008).




                                                41
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 52 of 131 PageID# 16815




                             PROPOSED JURY INSTRUCTION NO. 31

                             Plaintiff’s Proposal: Elements of Mail Fraud

          In order to establish that mail fraud has been committed for purposes of this case, Navient

   must show by a preponderance of the evidence that:

          First: Defendants willfully and knowingly participated in a scheme to defraud Navient;

          Second: Defendants did so with an intent to defraud; and

          Third: Defendants either mailed something or caused it to be mailed in furtherance of their

   scheme. To “cause” the mails to be used is to do an act with knowledge that the use of the mails

   will follow in the ordinary course of business or where such use can reasonably be foreseen, even

   if the actual use of the mails was accomplished by someone other than Defendants.

          There is no requirement that each Defendant personally used the mails in furtherance of

   the scheme, nor is there any requirement that the mailing itself contain false information. It is

   enough if the Defendant knows that in the execution of the scheme letters are likely to be mailed,

   and if in fact they are mailed.

          Each separate use of the mails in furtherance of a scheme or plan to defraud is a separate

   predicate act of mail fraud.

          The crime of mail fraud can include the fraudulent filing of a lawsuit, as well as the filing

   of subsequent documents pursuant to that lawsuit. The use of the mails need not in and of itself

   be fraudulent to constitute an offense under the mail fraud statute. In the case of the fraudulent

   filing of a lawsuit, the placing in the mail of a complaint and its accompanying papers is a sufficient

   connection with the mail system to constitute a violation of the mail fraud statute.

   Supporting Authority:

   18 U.S.C. § 1341.




                                                     42
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 53 of 131 PageID# 16816




   Pereira v. United States, 347 U.S. 1, 7-9 (1954).

   United States v. Draiman, 784 F.2d 248, 251 (7th Cir. 1986).

   United States v. Mackay, 491 F.2d 616, 619 (10th Cir. 1973).

   U.S. v. Perkal, 530 F.2d 604, 606-607 (4th Cir. 1976), cert. denied, 429 U.S. 821 (1976).

   Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 647 (2008).

   O’Malley 5th ed., §§ 161:24, 161:55, 161:57.

   United States v. Murr, 681 F.2d 246, 248-49 (4th Cir. 1982).

   CSX Transp., Inc. v. Gilkison, 5:05-cv-202, 2012 WL 1598081 (N.D. W. Va. May 3, 2012).

                            Defendants’ Proposal: Elements of Mail Fraud

           In order to establish that mail fraud has been committed for purposes of this case, Navient

   must show by a preponderance of the evidence that:

           First: Defendants willfully and knowingly participated in a scheme to defraud Navient;

           Second: Defendants did so with an intent to defraud; and

           Third: Defendants either mailed something or caused it to be mailed in furtherance of their

   scheme. 27 To “cause” the mails to be used is to do an act with knowledge that the use of the mails

   will follow in the ordinary course of business or where such use can reasonably be foreseen, even

   if the actual use of the mails was accomplished by someone other than Defendants. 28

           There is no requirement that each Defendant personally used the mails in furtherance of

   the scheme. 29 It is enough if the Defendant knows that in the execution of the scheme letters are

   likely to be mailed, and if in fact they are mailed. 30




   27
      United States v. Vinson, 852 F.3d 333, 355 (4th Cir. 2017).
   28
      Pereira v. United States, 347 U.S. 1, 7-9 (1954).
   29
      Id.
   30
      Id.


                                                     43
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 54 of 131 PageID# 16817




           There is not any requirement that the mailing itself contain false information. 31 Even a

   victim’s or third-party’s use of the mails violates the statute if it furthers or facilitates the scheme

   to defraud and was “caused” by the defendant. 32

           Each separate use of the mails in furtherance of a scheme or plan to defraud is a separate

   predicate act of mail fraud. 33




   31
      Schmuck v. United States, 489 U.S. 705, 711 (1989).
   32
      Pereira, 347 U.S. at 7-9.
   33
      18 U.S.C. § 1341.



                                                     44
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 55 of 131 PageID# 16818




                             PROPOSED JURY INSTRUCTION NO. 32

                             Agreed: Racketeering Activity: Wire Fraud

          The wire fraud statute, Section 1343 of Title 18 of the United States Code, which Navient

   alleges that Defendants violated, provides in pertinent part, that:

          Whoever, having devised or intending to devise any scheme or artifice to defraud, or for
          obtaining money or property by means of false or fraudulent pretenses, representations, or
          promises, transmits or causes to be transmitted by means of wire, radio, or television
          communication in interstate or foreign commerce, any writings, signs, signals, pictures, or
          sounds for the purpose of executing such scheme or artifice, [shall be guilty of an offense
          against the laws of the United States].

   Supporting Authority:

   18 U.S.C. § 1343.

   O’Malley 5th ed., § 161:15.




                                                    45
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 56 of 131 PageID# 16819




                             PROPOSED JURY INSTRUCTION NO. 33

                             Plaintiff’s Proposal: Elements of Wire Fraud

           In order to establish that wire fraud has been committed for purposes of this case, Navient

   must show by a preponderance of the evidence that:

           First: Defendants willfully and knowingly participated in a scheme to defraud Navient;

           Second: Defendants did so with an intent to defraud; and

           Third: The use of the interstate wires was closely related to the scheme in that Defendants

   either used the wires directly or caused them to be used in furtherance of their scheme. To “cause”

   the wires to be used is to do an act with knowledge that the use of wires will follow in the ordinary

   course of business or where such use can reasonably be foreseen, even if the actual use of the wires

   was accomplished by someone other than Defendants. It is not necessary that the use of the wires

   be the exclusive means of accomplishing the fraud.

           Interstate telephone calls or radio communications are an essential element of the predicate

   act of wire fraud. Each separate use of such facilities in furtherance of a scheme or plan to defraud

   is a separate predicate act of wire fraud. Thus, initiating telephone calls to Navient, or triggering

   calls from Navient to loan holders, can satisfy this element if it furthers a scheme or plan to defraud.

           The crime of wire fraud can include the fraudulent filing of a lawsuit, as well as the filing

   of subsequent documents pursuant to that lawsuit. The crime of wire fraud can also include an

   attorney’s scheme to mislead a Defendant by falsely portraying the extent of its potential exposure

   and the likelihood of an adverse result in a manner designed to induce the Defendant to settle a

   case and to do so at a higher figure than otherwise might have been available. The use of the wires

   need not in and of itself be fraudulent to constitute an offense under the wire fraud statute. In the

   case of the fraudulent filing of a lawsuit, the use of the wires to file a complaint and its




                                                     46
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 57 of 131 PageID# 16820




   accompanying papers is a sufficient connection with the interstate wires to constitute a violation

   of the wire fraud statute.

   Supporting Authority:

   18 U.S.C. § 1343.

   Pereira v. United States, 347 U.S. 1, 7-9 (1954).

   United States v. Calandrella, 605 F.2d 236, 253 (6th Cir. 1979).

   O’Malley 5th ed., §§ 161:26, 161:55, 161:57.

   Chevron v. Donziger, 974 F. Supp. 2d 362, 590 (S.D.N.Y. 2014), cert. denied, 137 S. Ct. 2268
   (2017).

                           Defendants’ Proposal: Elements of Wire Fraud 34

          In order to establish that wire fraud has been committed for purposes of this case, Navient

   must show by a preponderance of the evidence that:

          First: Defendants willfully and knowingly participated in a scheme to defraud Navient;

          Second: Defendants did so with an intent to defraud; and

          Third: Defendants either used or caused the use of the interstate wires in furtherance of

   their scheme. To “cause” the use of the interstate wires is to do an act with knowledge that the use

   of the interstate wires will follow in the ordinary course of business or where such use can

   reasonably be foreseen, even if the actual use of the interstate wires was accomplished by someone

   other than Defendants.




   34
    Carpenter v. United States, 484 U.S. 19, 25 n.6 (1987) (stating that the substantive elements of
   mail and wire fraud are identical).



                                                   47
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 58 of 131 PageID# 16821




           There is no requirement that each Defendant personally used the interstate wires in

   furtherance of the scheme. It is enough if the Defendant knows that, in the execution of the scheme,

   the interstate wires are likely to be used and, in fact, are used.

           There is not any requirement that the wire transmission itself contain false information.

   Even a victim’s or third-party’s use of the interstate wires violates the statute if it furthers or

   facilitates the scheme to defraud and was “caused” by the defendant.

           Each separate use of the interstate wires in furtherance of a scheme or plan to defraud is a

   separate predicate act of wire fraud.




                                                     48
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 59 of 131 PageID# 16822




                            PROPOSED JURY INSTRUCTION NO. 34

                             Agreed: Racketeering: Witness Tampering

          The term “racketeering activity” includes witness tampering in violation of 18 U.S.C. §

   1512(b). Navient claims that Defendants Jeffrey Lohman, Jeremy Branch, and the Law Offices of

   Jeffrey Lohman violated that statute by:

          corruptly . . . persuading another person, or attempting to do so, or engaging in misleading
          conduct toward another person, with intent to . . . influence, delay, or prevent the testimony
          of any person in an official proceeding.

   Supporting Authority:

   18 U.S.C. § 1512(b).




                                                   49
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 60 of 131 PageID# 16823




                            PROPOSED JURY INSTRUCTION NO. 35

                       Plaintiff’s Proposal: Elements of Witness Tampering

          In order to establish that witness tampering has been committed for purposes of this case,

   Navient must show by a preponderance of the evidence that:

          First: Defendants corruptly persuaded or attempted to corruptly persuade another person;

          Second: Defendants acted knowingly; and

          Third: Defendants acted with intent to influence, delay, or prevent the testimony of any

   person in an official proceeding.

          The phrase “corruptly” means motivated by an improper purpose.

          The phrase “with intent to influence, delay, or prevent testimony” means to act for the

   purpose of causing a person to change his or her testimony or information in any way or to withhold

   testimony or information, permanently or only for a period of time.

          An “official proceeding” means a proceeding before a judge or court of the United States,

   a United States magistrate, a bankruptcy judge, or a federal grand jury.

          The crime of witness tampering can include writing out potential questions and proposed

   answers for clients to provide in testimony.

   Supporting Authority:

   18 U.S.C. § 1512.

   United States v. Johnson, 553 F. Supp. 2d 582 (E.D. Va. 2008).

   O’Malley 5th ed., § 49.05.

   Crutchfield v. Wainwright, 803 F.2d 1103, 1110 (11th Cir. 1986).

   In re Cendant Corp. Securities Litig., 343 F.3d 658, 668 n.8 (3d Cir. 2003).




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 61 of 131 PageID# 16824




                       Defendants’ Proposal: Elements of Witness Tampering

           In order to establish that witness tampering has been committed for purposes of this case,

   Navient must show by a preponderance of the evidence that:

           First: Defendants corruptly persuaded or attempted to corruptly persuade another person;

           Second: Defendants acted knowingly; and

           Third: Defendants acted with intent to influence, delay, or prevent the testimony of any

   person in an official proceeding. 35

           The phrase “corruptly” means wrongful, immoral, depraved or evil. 36

           An “official proceeding” means a proceeding before a judge or court of the United States,

   a United States magistrate, a bankruptcy judge, or a federal grand jury. 37 An arbitration proceeding

   is not an “official proceeding.” 38

           Finally, there must be a nexus between the obstructive act and the particular official

   proceeding. 39 A defendant must believe that his actions are likely to affect a particular existing or

   foreseeable official proceeding. 40

           Bad faith litigation tactics alone do not constitute witness tampering. 41




   35
      15 U.S.C. § 1512(b); United States v. Johnson, 553 F. Supp. 2d 582, 623 (E.D. Va. 2008).
   36
      Johnson, 553 F. Supp.2d at 623.
   37
      18 U.S.C. §§ 1512, 1515(a).
   38
      See id.
   39
      Johnson, 553 F. Supp.2d at 623.
   40
      Id.
   41
      Snow Ingredients, Inc. v. Snowlizard Inc., 833 F.3d 512, 523-25 (5th Cir. 2016).



                                                    51
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 62 of 131 PageID# 16825




                            PROPOSED JURY INSTRUCTION NO. 36

                               Agreed: “Knowingly” and “Willfully”

          As used in RICO, to act “knowingly” means to act voluntarily and intentionally, not

   because of mistake or accident.

          “Willfully” means that the action was done voluntarily and purposely, with the specific

   intent to do something the law forbids.

   Supporting Authority:

   O’Malley 5th ed., § 161:52, 161:53.




                                                52
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 63 of 131 PageID# 16826




                            PROPOSED JURY INSTRUCTION NO. 37

                                      Agreed: Intent to Defraud

          In order to establish fraudulent intent on the part of a person, it must be established that

   such person knowingly and intentionally attempted to deceive another. One who knowingly and

   intentionally deceives another is chargeable with fraudulent intent notwithstanding the manner and

   form in which the deception was attempted.

          To act with “intent to defraud” means to act knowingly and with the specific intent to

   deceive, ordinarily for the purpose of causing some financial loss to another or bringing about

   some financial gain to oneself.

          The words “scheme” and “artifice” in the mail fraud statute include any plan or course of

   action intended to deceive others, and to obtain, by false or fraudulent pretenses, representations,

   or promises, money or property from persons so deceived.

   Supporting Authority:

   O’Malley 5th ed., § 161:54.




                                                   53
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 64 of 131 PageID# 16827




                            PROPOSED JURY INSTRUCTION NO. 38

                                        Agreed: State of Mind

          You have heard and will hear throughout these instructions references to “knowingly,”

   “willfully,” and “intentionally” in relation to various elements of the offenses or predicate acts

   charged. These terms refer to the state of mind of the Defendants. You must decide whether

   various acts were committed by the Defendants with a certain state of mind.

          You may infer a Defendant’s state of mind from both the Defendant’s words and the

   Defendant’s actions. The commission of an act may more clearly show a Defendant’s state of

   mind than the Defendant’s words or explanation uttered long after the act’s occurrence.

          You may determine a Defendant’s state of mind based upon the facts and circumstances

   surrounding the act and any reasonable inferences drawn from those facts and circumstances.

   Supporting Authority:

   O’Malley 5th ed., § 161:58.




                                                  54
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 65 of 131 PageID# 16828




                             PROPOSED JURY INSTRUCTION NO. 39

                                 Plaintiff’s Proposal: False Statements

          A statement or representation is “false” or “fraudulent” within the meaning of the mail

   fraud statute if it relates to a material fact and is known to be untrue or is made with reckless

   indifference as to its truth or falsity, and is made or caused to be made with intent to defraud. A

   statement or representation may also be “false” or “fraudulent” when it constitutes a half truth, or

   effectively conceals a material fact, with intent to defraud.

          A fact, falsehood, or representation is “material” if it has a natural tendency to influence,

   or is capable of influencing, the decision of a reasonable person in deciding whether to engage or

   not to engage in a particular transaction. However, whether a fact, falsehood, or representation is

   “material” does not depend on whether the person was actually deceived.

          It is not necessary that Navient prove:

          1.      All of the details concerning the precise nature and purpose of the scheme, or

          2.      That the material fact was itself false or fraudulent, or

          3.      That the alleged scheme actually succeeded in defrauding anyone, or

          4.      That the use of the mail was intended as the specific or exclusive means of

                  accomplishing the alleged fraud.

          What must be shown by a preponderance of the evidence is that Defendants knowingly and

   willfully devised or intended to devise a scheme to defraud substantially the same as the one

   alleged by Navient. Within the meaning of the mail and wire fraud statutes, “to defraud” means

   to use dishonest methods or schemes and usually signifies the deprivation of something of value

   by trick, deceit, chicanery, or overreaching.         In other words, Navient must prove by a

   preponderance of the evidence that a Defendant or Defendants specifically intended to deprive




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 66 of 131 PageID# 16829




   Navient of something of value through misrepresentation or similar dishonest conduct, which

   indeed did cause Navient harm. 42

   Supporting Authority:

   O’Malley 5th ed., §§ 161:54, 161:57, 161:59.

                                 Defendants’ Proposal: False Statements

             A statement or representation is “false” or “fraudulent” within the meaning of the mail and

   wire fraud statutes if it relates to a material fact and is known to be untrue or is made with reckless

   indifference as to its truth or falsity, and is made or caused to be made with intent to defraud. A

   statement or representation may also be “false” or “fraudulent” when it constitutes a half truth, or

   effectively conceals a material fact, with intent to defraud.

             A fact, falsehood, or representation is “material” if it has a natural tendency to influence,

   or is capable of influencing, the decision of a reasonable person in deciding whether to engage or

   not to engage in a particular transaction. However, whether a fact, falsehood, or representation is

   “material” does not depend on whether the person was actually deceived.

             What must be shown by a preponderance of the evidence is that Defendants knowingly and

   willfully devised or intended to devise a scheme to defraud substantially the same as the one

   alleged by Navient. Within the meaning of the mail and wire fraud statutes, “to defraud” means

   to use dishonest methods or schemes and usually signifies the deprivation of something of value

   by trick, deceit, chicanery, or overreaching. In other words, Navient must prove by a

   preponderance of the evidence that a defendant or defendants specific intended to deprive Navient

   of something of value through misrepresentation or similar dishonest conduct, which indeed did




   42
        United States v. Wynn, 684 F.3d 473, 478 (4th Cir. 2012).


                                                      56
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 67 of 131 PageID# 16830




   cause Navient harm. 43

   Supporting Authority:

   O’Malley 5th ed., §§ 161:54, 161:57, 161:59.




   43
        United States v. Wynn, 684 F.3d 473, 478 (4th Cir. 2012).


                                                     57
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 68 of 131 PageID# 16831




                             PROPOSED JURY INSTRUCTION NO. 40

                             Defendants’ Proposal: Litigation Activities

          Frivolous, fraudulent, or baseless litigation activities – without more – are not acts of

   racketeering. 44 Obstructive, abusive, and fraudulent litigations tactics should be dealt with during

   the course of the litigation in which they arose; they do not justify a subsequent RICO claim. 45

   Likewise, an attorney’s performance of unauthorized work is at worst a violation of the rules of

   professional responsibility but is not an act of racketeering. 46 Even if an attorney makes incorrect
                                                                                                   47
   allegations in a pleading, that litigation conduct does not constitute a scheme to defraud.          A

   scheme to defraud requires corrupt activity like bribing witnesses or parties. 48

                                 Plaintiff’s Proposal: (No Instruction)

          Plaintiff would omit this instruction.




   44
      Kim v. Kimm, 884 F.3d 98, 104 (2d Cir. 2018); Republic of Kazakhstan v. Stati, 380 F.
   Supp.3d 55, 61 (D.D.C. 2019), aff’d, 801 Fed.Appx. 780 (D.C. Cir. 2020); Winters v. Jones,
   2018 WL 326518, *8–10 (D.N.J. Jan. 8, 2018).
   45
      Eastern Sav. Bank, FSB v. Papageorge, 31 F. Supp.3d 1, 12, 22 (D.D.C. 2014), aff’d, 629
   Fed.Appx. 1 (D.C. Cir. 2015).
   46
      St. Germain v. Howard, 556 F.3d 261, 263 (5th Cir.), cert. denied, 557 U.S. 920 (2009);
   Thomas v. Baca, 2007 WL 738545 (C.D. Cal. Feb. 28, 2007), aff’d, 308 Fed.Appx. 87 (9th Cir.
   2009).
   47
      Jacovetti Law, P.C. v. Everett, 2020 WL 5211034, *3 (E.D. Pa. Sept. 1, 2020).
   48
      Id.


                                                    58
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 69 of 131 PageID# 16832




                              PROPOSED JURY INSTRUCTION NO. 41

            Defendants’ Proposal: Formality in Forming an Attorney-Client Relationship

            Formality is not an essential element of employment of an attorney. The contract may be

   express or implied, and it is sufficient that the advice and assistance of the attorney is sought and

   received, in matters pertinent to his profession. 49

                                  Plaintiff’s Proposal: (No Instruction)

            Plaintiff would omit this instruction.




   49
        Nicholson v. Shockey, 64 S.E.2d 813, 817 (Va. 1951).


                                                     59
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 70 of 131 PageID# 16833




                               PROPOSED JURY INSTRUCTION NO. 42

                                     Defendants’ Proposal: Ratification

             A party may ratify a contract by any conduct indicating assent to the contract. 50 If a contract

   is ratified, the ratification relates back to the execution of the contract and renders it obligatory

   from its inception. 51

                                   Plaintiff’s Proposal: (No Instruction)

             Plaintiff would omit this instruction.




   50
        Wells Fargo Bank, N.A. v. Smith, 2011 WL 3841832, *3 (E.D. Va. Aug. 30, 2011).
   51
        Id. (quoting Brewer v. The First Nat'l Bank of Danville, 120 S.E.2d 273 (Va. 1961)).


                                                       60
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 71 of 131 PageID# 16834




                             PROPOSED JURY INSTRUCTION NO. 43

                              Defendants’ Proposal: Intentional Default

          A debtor, such as a borrower whose loans is serviced by NSL, may choose, at his/her sole

   discretion, to pay his/her unsecured creditors and secured creditors contemporaneously. A debtor

   may opt to satisfy his/her secured creditors first. That way the debtor may be in a better position

   to keep certain property, e.g., his home or car.

   Supporting Authority:

   In re Baines, 263 B.R. 868, 873 (Bankr. S.D. Ill. 2001).

                                 Plaintiff’s Proposal: (No Instruction)

          Plaintiff would omit this instruction.




                                                      61
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 72 of 131 PageID# 16835




                             PROPOSED JURY INSTRUCTION NO. 44

                       Defendants’ Proposal: Unanimity on Racketeering Acts

          Plaintiff alleges that Defendants committed acts of racketeering. With regard to each

   defendant, the plaintiff satisfies its burden if it proves by a preponderance of the evidence that at

   least two of the alleged racketeering acts sufficiently related to constitute a pattern were committed

   by the defendant within the prescribed time.

          However, you may not find that the plaintiff has established this element unless you all

   agree that at least two particular racketeering acts were committed by the defendant. It is not

   enough if some of you think that only racketeering acts A and B were committed by the defendant,

   and the rest of you think that only acts C and D were committed by the defendant. There must be

   at least two specific racketeering acts that you unanimously find by a preponderance of the

   evidence were committed by the defendant in order to satisfy this element.

   Supporting Authority:

   4 Modern Federal Jury Instructions-Civil P 84-28 (2021).

                                 Plaintiff’s Proposal: (No Instruction)

          Plaintiff would omit this instruction.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 73 of 131 PageID# 16836




                              PROPOSED JURY INSTRUCTION NO. 45

                        Agreed: Definition of “Pattern of Racketeering Activity”

          In this case, Navient contends that the activities of the Defendants in using the mails and

   telephone wires to communicate with each other, their clients, courts, arbitration tribunals, Navient

   and its lawyers, and others in filing and prosecuting numerous fraudulent Telephone Consumer

   Protection Act cases against Navient constituted a pattern of racketeering activity. Acts of

   racketeering activity may include, as Plaintiff alleges in this case, violations of the federal mail

   fraud, wire fraud, and witness tampering statutes.

          To establish a pattern of racketeering activity, Navient must prove by a preponderance of

   the evidence that:

          1. Defendants committed at least two acts of racketeering within ten years of each other.

              While the two acts of racketeering activity need not be of the same kind, you must

              find by a preponderance of the evidence that at least two acts of racketeering activity

              occurred within the time specified.

          2. The acts of racketeering shared the same or similar purposes, results, participants,

              victims, or methods of commission, or otherwise are interrelated by distinguishing

              characteristics and are not isolated events, and

          3. The acts of racketeering were continuous. Acts of racketeering are sufficiently

              continuous if they occurred over a “substantial period of time” or if the acts of

              racketeering were a regular way in which Defendants did business or if the acts of

              racketeering would have gone on indefinitely in the absence of this lawsuit.

   Supporting Authority:

   O’Malley 5th ed., § 161:47.




                                                    63
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 74 of 131 PageID# 16837




   18 U.S.C. § 1961(5).

   Am. Chiropractic Ass’n v. Trigon Healthcare, Inc., 367 F.3d 212, 233 (4th Cir. 2004).

   H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 240-41 (1989).

   United States v. Bustamante, 45 F.3d 933, 941-42 (5th Cir. 1995).

   Bloodstock Research Info. Servs. v. edbain.com, LLC, 622 F. Supp. 2d 504, 514-15 (E.D. Ky.
   2009)

   Smithfield Foods, Inc. v. United Food and Commer. Workers Int’l Union, 633 F. Supp. 2d 214,
   227 (E.D. Va. 2008).




                                                  64
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 75 of 131 PageID# 16838




                           PROPOSED JURY INSTRUCTION NO. 46

                                  Agreed: RICO: Section 1962(d)

          In Count 3 of its Complaint, Navient claims that The Law Offices of Jeffrey Lohman,

   Jeremy Branch, Jeffrey Lohman, Rick Graff, Gregory Trimarche, and GST Factoring violated

   RICO, Section 1962(d), by forming a conspiracy to violate Section 1962(c).

   Supporting Authority:

   O’Malley 6th ed., § 161:13.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 76 of 131 PageID# 16839




                             PROPOSED JURY INSTRUCTION NO. 47

                         Plaintiff’s Proposal: Elements of a 1962(d) Violation

          In order to prove a violation of Section 1962(d), Navient must prove by a preponderance

   of the evidence that the Defendant became a member of the alleged conspiracy.

          With respect to Count 3 of its Complaint, Navient must prove that Defendants The Law

   Offices of Jeffrey Lohman, Jeffrey Lohman, Jeremy Branch, Rick Graff, Gregory Trimarche,

   and/or GST Factoring joined with the other members of the alleged conspiracy in an agreement to

   conduct or participate in the affairs of the enterprise through a pattern of racketeering activity.

          To do so, Navient must prove the following:

          First: A Defendant is a person who conspired to violate Section 1962(c).

          Second: Another Defendant (or Defendants) understood the nature or unlawful character

   of that conspiratorial plan.

          Third: The Defendant agreed to join with others to achieve the objective of the conspiracy.

   To conspire to conduct the affairs of an enterprise, the Defendant must be aware of the existence

   and purpose of the enterprise.

          Fourth: The Defendant agreed that the enterprise would be conducted through a pattern of

   racketeering activity. This means that the commission of at least two predicate crimes by the

   conspiracy was contemplated.

          For the jury to conclude that a Defendant became a member of the alleged conspiracy, it

   need not determine that he himself committed or agreed to commit the two predicate acts that

   constitute a substantive RICO offense under § 1962(c). In other words, Navient need not prove

   an overt act by every member of the conspiracy; instead, it must show that each conspiring

   Defendant intended to further an endeavor that, if completed, would satisfy all of the elements of




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 77 of 131 PageID# 16840




   Section 1962(c). It suffices that a Defendant adopt the goal of furthering or facilitating the criminal

   endeavor. A conspiracy may exist even if a conspirator does not agree to commit or facilitate each

   and every part of the Section 1962(c) violation. If conspirators have a plan which calls for some

   conspirators to perpetrate the crime and others to provide support, the supporters are as guilty as

   the perpetrators.

          Because, by their very nature, conspiracies are clandestine and covert, they frequently

   result in little direct evidence of agreement among the conspirators. Hence, conspiracies are

   generally proven by circumstantial evidence and the context in which the circumstantial evidence

   is presented. Indeed, a conspiracy may be proven wholly by circumstantial evidence.

          If you find that the alleged conspiracy existed, then the acts and statements of the

   conspirators are binding on all of those who you find were members of the conspiracy. One it has

   been shown that a conspiracy exists, the evidence need only establish a slight connection between

   the Defendant and the conspiracy. In other words, although the Plaintiff must prove both the

   existence of a conspiracy and the Defendants’ connection to it, that connection need only be slight.

          Once a person is found by you to be a member of a conspiracy, he is presumed to remain

   a member and is responsible for all actions taken by all conspirators during and in furtherance of

   the conspiracy until it is shown that the conspiracy has been completed or abandoned or that person

   has withdrawn from the conspiracy.

   Supporting Authority:

   18 U.S.C. § 1962(d).

   Glass v. Glass, 321 S.E.2d 69, 74 (Va. 1984).

   O’Malley 5th ed., § 161:23.

   Salinas v. United States, 522 U.S. 52, 65 (1997).




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 78 of 131 PageID# 16841




   CGC Holding Co., LLC v. Broad and Cassel, 773 F.3d 1076, 1088 (10th Cir. 2014).

   United States v. Burgos, 94 F.3d 849, 857-58 (4th Cir. 1996).

                       Defendants’ Proposal: Elements of a 1962(d) Violation

          With respect to its RICO conspiracy claim under section 1962(d), Navient must prove by

   a preponderance of the evidence that Defendants The Law Offices of Jeffrey Lohman, Jeffrey

   Lohman, Jeremy Branch, Rick Graff, Gregory Trimarche, or GST Factoring agreed to further or

   facilitate another Defendants’ violation of section 1962(c).

          To do so, Navient must prove the following:

          First: at least one Defendant violated section 1962(c) as an operator or manager of the

   enterprise through a pattern of racketeering. 52

          Second: Another Defendant (or Defendants) understood the nature or unlawful character

   of the operator or manager’s endeavor.

          Third: The Defendant (or Defendants) agreed to join with the operator or manager(s) to

   conduct the affairs of an enterprise. The Defendant (or Defendants) must be aware of the existence

   and purpose of the enterprise.

          Fourth: The Defendant (or Defendants) agreed that the enterprise would be conducted

   through a pattern of racketeering activity. This means that the commission of at least two predicate

   crimes by the conspiracy was contemplated.

          For the jury to conclude that a Defendant became a member of the alleged conspiracy, it

   need not determine that he himself committed or agreed to commit the two predicate acts that

   constitute a substantive RICO offense under § 1962(c). In other words, Navient need not prove




   52
      A cause of action for conspiracy under § 1962(d) necessarily fails if the substantive claim
   fails. Field v. GMAC LLC, 660 F. Supp. 2d 679, 688 (E.D. Va. 2008).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 79 of 131 PageID# 16842




   an overt act by every member of the conspiracy; instead, it must show that each conspiring

   Defendant intended to further an endeavor that, if completed, would satisfy all of the elements of

   section 1962(c). It suffices that a Defendant adopt the goal of furthering or facilitating the criminal

   endeavor. A conspiracy may exist even if a conspirator does not agree to commit or facilitate each

   and every part of the section 1962(c) violation. If conspirators have a plan which calls for some

   conspirators to perpetrate the crime and others to provide support, the supporters are as guilty as

   the perpetrators.

          If you find that the alleged conspiracy existed, then the acts and statements of the

   conspirators are binding on all of those who you find were members of the conspiracy. Once a

   person is found by you to be a member of a conspiracy, he is presumed to remain a member and

   is responsible for all actions taken by all conspirators during and in furtherance of the conspiracy

   until it is shown that the conspiracy has been completed or abandoned or that person has withdrawn

   from the conspiracy.

   Supporting Authority:

   18 U.S.C. § 1962(d).

   Glass v. Glass, 321 S.E.2d 69, 74 (Va. 1984).

   O’Malley 5th ed., § 161:23.

   Salinas v. United States, 522 U.S. 52, 65 (1997).

   CGC Holding Co., LLC v. Broad and Cassel, 773 F.3d 1076, 1088 (10th Cir. 2014).




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 80 of 131 PageID# 16843




                             PROPOSED JURY INSTRUCTION NO. 48

                          Partially Agreed: RICO: Conspiracy Agreement

          To hold a particular defendant liable for conspiracy, Navient must prove by a

   preponderance of the evidence that the particular defendant knowingly reached an agreement or

   understanding with at least one other person to participate, directly or indirectly, in the affairs of

   an enterprise through a pattern of racketeering activity.

          The agreement or understanding need not be an express or formal agreement or be in

   writing or cover all the details of how it is to be carried out. Nor is it necessary that the members

   have directly stated between themselves the details or purpose of the scheme. You should

   understand that merely being present at the scene of an event, or merely acting in the same way as

   others or merely associating with others, does not prove that a person has joined in an agreement

   or understanding. A person who has no knowledge of a conspiracy but who happens to act in a

   way which advances some purpose of one does not thereby become a member.

          But a person may join in an agreement or understanding, as required by this element,

   without knowing all the details of the agreement or understanding, and without knowing who all

   the other members are. Further it is not necessary that a person agree to play any particular part in

   carrying out the agreement or understanding. A person may become a member of a conspiracy

   even if that person agrees to play only a minor part in the conspiracy, as long as that person has an

   understanding of the unlawful nature of the plan and voluntarily and intentionally joins in it.

          In determining whether the alleged conspiracy existed you may consider the actions and

   statements of all the alleged participants. The agreement may be inferred from all the

   circumstances and the conduct of the alleged participants.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 81 of 131 PageID# 16844




            Plaintiff’s Proposal: To prove that an individual was a member of a RICO conspiracy, a

   plaintiff need show only “slight evidence” that he or she was a member of the conspiracy once the

   conspiracy itself is establish. Under Section 1962(d), remote associates of an enterprise can be

   held liable as conspirators on the basis of purely circumstantial evidence. (Defendants would

   omit.)

   Supporting Authority:

   Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit,
   § 6.18.1962C (2017).




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 82 of 131 PageID# 16845




                            PROPOSED JURY INSTRUCTION NO. 49

                            Defendants’ Proposal: RICO: Civil Standing

          In order to recover damages under RICO, Navient must have “standing.” A plaintiff has

   standing only if it is the type of victim that was authorized by Congress to bring a civil lawsuit

   under RICO.

          In order to have “standing,” Navient must prove by a preponderance of the evidence that:

          1)      It was injured in its business or property

          2)      By reason of Defendant(s) RICO violation(s).

   Supporting Authority:

   18 U.S.C. § 1964(c).

                                Plaintiff’s Proposal: (No Instruction)

          Plaintiff would omit this instruction.




                                                   72
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 83 of 131 PageID# 16846




                             PROPOSED JURY INSTRUCTION NO. 50

                                  Plaintiff’s Proposal: RICO: Injury

          For Navient to prevail under RICO, it must prove by a preponderance of the evidence that

   the Defendants’ RICO violations were the “proximate cause” of injury to Navient’s business or

   property. Therefore, you must find that Navient suffered an injury to its business or property and

   that the injury was caused by reason of the Defendants’ violation of RICO.

          The pertinent inquiry in determining the existence of proximate cause is whether the

   conduct has been so significant and important a cause that the Defendant should be held

   responsible.

          A finding that Plaintiff Navient was injured in its business or property because of the

   Defendants’ violation of RICO requires that you find the Plaintiff’s damages were caused by the

   Defendants’ alleged mail fraud, wire fraud, or witness tampering. However, to find that injury to

   Navient’s business or property was caused by reason of a Defendant’s violation of RICO, you

   must also find that the injury to Navient was caused by, and was a direct result of, that Defendant’s

   violation of Sections 1962(c) or 1962(d).

          Therefore, you must find that the commission of the acts of racketeering by that Defendant,

   or the pattern of racketeering by that Defendant, or the conduct of the affairs of the enterprise

   through the pattern of racketeering activity by that Defendant, directly resulted in the injury or

   played a substantial role in producing the injury. If Navient would have incurred the alleged

   damages regardless of any RICO violation by a Defendant, then those damages are not proximately

   caused by that Defendant’s RICO violation.

   Supporting Authority:

   O’Malley 5th ed., § 161:70.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 84 of 131 PageID# 16847




   Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9 (2010).

   Holmes v. Sec. Inv. Protection Corp., 503 U.S. 258, 268 (1992).

   Slay’s Restoration, LLC v. Wright Nat’l Flood Ins. Co., 884 F.3d 489 (4th Cir. 2018).

              Defendants’ Proposal: RICO: Injury by Reason of the RICO Violation

           Navient can only recover if, and to the extent that, it has been injured in its business or

   property by the conduct constituting the RICO violation. 53 Accordingly, Navient must prove by a

   preponderance of the evidence that: (1) it would not have been injured “but for” Defendants’ acts

   of racketeering; and (2) Defendants’ acts of racketeering were also the proximate cause of the

   plaintiff’s injuries. 54 As discussed earlier, the acts of racketeering claimed by Navient are federal

   mail fraud, federal wire fraud, and witness tampering.

           In other words, the acts of racketeering activity must themselves cause the injury. 55 A

   defendant does not violate RICO, and is not liable for damage under RICO, for wrongful conduct

   that does not constitute an act of racketeering, such as violating the ethical rules of their profession,

   committing professional negligence, or committing criminal acts that are not acts of racketeering

   punishable under RICO. 56

           Acts of racketeering are the proximate cause of an injury only if there is some direct

   relationship between the acts and the harm to the plaintiff. 57 The general tendency of the law, in

   regard to damages at least, is not to go beyond the first step. 58




   53
      Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 (1985).
   54
      Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9 (2010).
   55
      In re XE Servs. Alien Tort Litig., 665 F. Supp. 2d 569, 598 (E.D. Va. 2009).
   56
      18 U.S.C. §§ 1961(1), 1962(c), 1964(c); Sedima, 473 U.S. at 496; Beck v. Prupis, 529 U.S.
   494, 505 (2000).
   57
      Hemi Grp., LLC, 559 U.S. at 9; Holmes v. Sec. Inv. Protection Corp., 503 U.S. 258, 268
   (1992)).
   58
      Id.; Slay’s Restoration, LLC v. Wright Nat’l Flood Ins. Co., 884 F.3d 489, 494 (4th Cir. 2018).


                                                      74
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 85 of 131 PageID# 16848




           A plaintiff cannot recover for harm visited upon a third person. 59 Regardless of how

   foreseeable a plaintiff's injury might have been or even what motive underlaid the conduct that

   caused the harm, the injury for which a plaintiff may seek damages under RICO cannot be

   contingent on or derivative of harm suffered by a different party. 60 With regard to witness

   tampering, the direct victim is the witness who was corruptly persuaded. 61

           An injury is not proximately caused by the defendants’ conduct where substantial

   intervening factors attenuate the causal connection between the defendant's conduct and the

   plaintiff's injury or where the chain of causation is fraught with unanswered questions, intricate,

   or uncertain. 62

           A defendant is not liable for injuries caused by the plaintiff’s own conduct. 63 For example,

   a defendant is not liable for injuries caused by the plaintiff’s poor business practices. 64 Self-

   inflicted injuries sever the causal nexus needed to establish standing. 65

           In short, a remote, purely contingent, or indirect link between the acts of racketeering and

   the harm does not establish proximate cause. 66




   59
      Holmes, 503 U.S. at 268.
   60
      Slay’s Restoration, LLC, 884 F.3d at 494-495.
   61
      Gratz v. Ruggiero, 2017 WL 2215267, *2 (E.D. Pa. 2017).
   62
      Holmes, 503 U.S. at 270, 259; Empire Merchants, LLC v. Reliable Churchill LLLP, 902
   F.3d 132, 142-143 (2d Cir. 2018); Doe v. Trump Corp., 385 F. Supp. 3d 265, 276–77
   (S.D.N.Y. 2019).
   63
      Cordoba v. DIRECTTV, LLC, 942 F.3d 1259, 1271 (11th Cir. 2019).
   64
      Holmes, 503 U.S. at 270, 259.
   65
      Ellis v. Jackson, 319 F. Supp.3d 23, 32 (D.D.C. 2018), aff’d, 850 Fed. Appx. 6 (D.C. Cir.
   2021).
   66
      Hemi Grp., LLC, 559 U.S. at 9.


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 86 of 131 PageID# 16849




                            PROPOSED JURY INSTRUCTION NO. 51

                     Plaintiff’s Proposal: RICO: Injury to Business or Property

          In considering the issue of Navient’s damages, if any, with respect to the RICO claim, you

   should assess the amount you find to be justified by a preponderance of the evidence as full, just,

   and reasonable compensation for all of the damages to the Plaintiff in its business or property, no

   more and no less.

          Under Section 1964(c), Navient may recover only for injury to Navient’s business or

   property. Injury to business may include lost profits and expenses incurred in connection with

   Defendant’s RICO violation and a decrease in the value or worth of the business or property itself.

   These injuries and expenses can include costs spent in defending fraudulently created lawsuits.

          In considering the issue of damages, if any, with respect to the RICO claims, you must

   assess the amount you find justified by a preponderance of the evidence as full, just, and reasonable

   compensation for all of the damages to Navient in its business or property. Damages may not be

   based on speculation because it is only actual damages, what the law calls compensatory damages,

   that you are to determine.

          You should consider the amount of damages, if any, as to each Defendant with respect to

   each RICO claim separately and independently from the amount of damages, if any, with respect

   to the other, non-RICO claims. For example, if you determine that damages should be awarded to

   Navient under its RICO claim, you should award full, just, and reasonable compensation for

   damages under the RICO claim, without regard to the damages, if any, you might award under any

   other claim brought by Navient.

   Supporting Authority:

   O’Malley 5th ed., § 161:90.




                                                    76
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 87 of 131 PageID# 16850




   CSX Transp., Inc v. Peirce, 974 F. Supp. 2d 927 (N.D. W. Va. 2013).

   Crowe v. Smith, 848 F. Supp. 1258, 1264 (W.D. La. 1994).

                      Defendants’ Proposal: RICO: Injury to Business or Property

          The damages claimed by Navient in this lawsuit are injuries to business or property.

          Navient, however, can only recover damages that are concrete, ascertainable, and

   reasonably quantifiable. 67 Speculative damages which are contingent on some future event, lost

   profits, or unanticipated future expense are not recoverable. 68

          Like all other elements of its claim, Navient must prove its damages by a preponderance

   of the evidence.

          Although money paid by Navient to resolve the underlying claims qualifies as a business

   or property, a party has no property interest in judicial proceedings 69, and the expectation of a

   favorable outcome in litigation is not a property interest protected under RICO. 70




   67
      Gamboa v. Ford Motor Co., 381 F. Supp.3d 852, 878 (E.D. Mich. 2019).
   68
      Id.
   69
      Thomas v. Baca, 2007 WL 738545, *7 (C.D. Cal. Feb. 28, 2007).
   70
      Bachi-Reffitt v. Refitt, 2017 WL 5998112, *9 (W.D. Mich. Dec. 4, 2017), aff’d, 802 Fed.Appx.
   913 (6th Cir. 2020).


                                                    77
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 88 of 131 PageID# 16851




                            PROPOSED JURY INSTRUCTION NO. 52

                                Plaintiff’s Proposal: Elements of Fraud

          In Count 4 of its Complaint, Navient claims that Defendants Jeffrey Lohman, Jeremy

   Branch, and the Law Offices of Jeffrey Lohman committed fraud by developing a scheme to induce

   student loan holders to stop making payments, go into default, and to trigger telephone calls from

   Navient that arguably violated a law against automatic calls, by filing lawsuits without

   authorization, and other legal papers containing misrepresentations.

          The essential elements in an action for fraud are: (1) a false representation, (2) of a material

   fact, (3) made intentionally or knowingly, (4) with intent to mislead, (5) reliance thereon by the

   party being misled, and (6) resulting damage to the party being misled.

          An action for fraud may lie where the Defendant knows the statement to be false, makes

   the statement with reckless indifference as to its truth or falsity and with an intent to deceive. A

   false representation of material fact can constitute constructive fraud even if the false

   representation was made innocently or negligently.

          Reliance on a false representation can be inferred from circumstantial evidence, rather than

   being proven directly.

   Supporting Authority:

   Owens v. DRS Auto. Fantomworks, Inc., 288 Va. 489, 497 (2014).

   O’Malley 5th ed., § 16:08.

   Richmond Met. Auth. v. McDevitt St. Bovis, Inc., 256 Va. 553, 346-47 (1998).

   Chisolm v. TranSouth Fin. Corp., 194 F.R.D. 538, 560 n.24 (E.D. Va. 2000).

                              Defendants’ Proposal: Elements of Fraud

          In addition to its RICO claim, Navient also alleges that Defendants Jeffrey Lohman, Jeremy




                                                    78
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 89 of 131 PageID# 16852




   Branch, and the Law Offices of Jeffrey Lohman violated Virginia law by committing fraud. Do

   not confuse fraud under Virginia law with mail and wire fraud under federal law. I have already

   instructed you with regard to mail and wire fraud under federal law.

             To be liable for fraud under Virgina law, Navient must prove by a preponderance of the

   evidence that Defendants Jeffrey Lohman, Jeremy Branch, and the Law Offices of Jeffrey

   Lohman: (1) made a false representation, (2) of a material fact, (3) intentionally or knowingly, (4)

   with intent to mislead, (5) that Navient detrimentally relied on the false statement, and (6) that

   reliance resulted in damage to Navient.

             Fraud, however, is not assumed on doubtful evidence, or circumstances of mere suspicion.

   It must be clearly and distinctly proved. 71 The law never presumes fraud, but the presumption is

   always in favor of innocence and honesty. 72

   Supporting Authority:

   Owens v. DRS Auto. Fantomworks, Inc., 288 Va. 489, 497 (2014).

   O’Malley 5th ed., § 16:08.




   71
        Haynes v. Bunting, 147 S.E. 211, 212 (Va. 1929).
   72
        Id.


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 90 of 131 PageID# 16853




                             PROPOSED JURY INSTRUCTION NO. 53

                                    Defendants’ Proposal: Reliance

           Navient bears the burden to prove its reasonable reliance by a preponderance of the

   evidence. Reliance may not be presumed. 73

           Reliance, however, can be inferred from circumstantial evidence, rather than being proven

   directly.

           Fraud cannot be established in the absence of reasonable or justified reliance. 74

           A plaintiff cannot claim that its reliance was reasonable and justified when it makes a

   partial inquiry, with full opportunity of complete investigation, and elects to act upon the

   knowledge obtained from the partial inquiry. 75 A party is charged with the knowledge the

   investigation reveals, or that would have been revealed had the investigation been pursued

   diligently to the end.76 Nor can a party establish reasonable reliance where it had information that

   would excite the suspicions of a reasonably prudent person. 77

           Rules exist emphasizing the importance of truth in the discovery process and the need for

   a litigant to be able to rely upon the opposing party's discovery responses. 78 However, a general

   entitlement to rely on a representation made during discovery is not enough to make a party's

   reliance reasonable in support of a fraud claim. 79




   73
      Chisolm v. TranSouth Fin. Corp., 194 F.R.D. 538, 559-560(E.D. Va. 2000).
   74
      Sweely Holdings, LLC v. SunTrust Bank, 820 S.E.2d 596, 605 (Va. 2018).
   75
      Hitachi Credit America Corp. v. Signet Bank, 166 F.3d 614, 629 (4th Cir. 1999).
   76
      Beck v. Smith, 538 S.E.2d 312, 315 (Va. 2000).
   77
      PNC Bank, N.A. v. Dominion Energy Mgmt., Inc., 2018 WL 1768061, *11 (E.D. Va. April 12,
   2018).
   78
      Green Leaf Nursery v. E.I. DuPont De Nemours & Co., 341 F.3d 1292, 1305 (11th Cir. 2003).
   79
      Id.


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 91 of 131 PageID# 16854




                               Plaintiff’s Proposal: (No Instruction)

         Plaintiff would omit this instruction.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 92 of 131 PageID# 16855




                             PROPOSED JURY INSTRUCTION NO. 54

                                        Agreed: Fraud: Damages

          If you find that Navient has established the necessary elements of fraud, Navient is entitled

   to full compensation for all injuries in a manner that would restore it to the position it held prior to

   the fraud.

   Supporting Authority:

   Murray v. Hadid, 385 S.E.2d 898, 904 (Va. 1989).




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 93 of 131 PageID# 16856




                            PROPOSED JURY INSTRUCTION NO. 55

        Plaintiff’s Proposal: Elements of Tortious Interference with Contract or Business

                                              Expectancy

          In Count 5 of its Complaint, Navient claims that the Defendants engaged in tortious

   interference with contract or business expectancy by inducing student loan holders—including

   ones who were not behind on their payments—to stop making payments on their promissory notes,

   go into default, and to trigger telephone calls from Navient that arguably violated a law against

   automatic calls.

          The essential elements in an action for tortious interference with contract or business

   expectancy are: (1) the existence of a valid contractual relationship; (2) knowledge of the

   relationship on the part of the interferor; (3) intentionally inducing or causing a breach or

   termination in the relationship or expectancy; and (4) the breach caused damage to the party whose

   relationship or expectancy has been disrupted. Malice is not required for a showing of tortious

   interference.

          Tortious interference may include interference by conduct that is unethical, illegal, or

   independently tortious, although a plaintiff claiming intentional interference with contract or

   business expectancy need not allege and prove all elements of liability for an the underlying

   independent tort.

          To demonstrate the existence of a business expectancy, Navient must establish expectancy

   by and between at least two parties based upon something that is a concrete move in that direction.

   Supporting Authority:

   Chaves v. Johnson, 335 S.E.2d 97, 102-03 (Va. 1985).

   Duggin v. Adams, 360 S.E.2d 832, 836 (Va. 1987).




                                                   83
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 94 of 131 PageID# 16857




   Moore v. United Int’l Investigative Servs., Inc., 209 F. Supp. 2d 611, 619-20 (E.D. Va. 2002).

         Defendants’ Proposal: Elements of Tortious Interference with Contract or Business
                                           Expectancy

             Navient’s final claim is that the Defendants engaged in tortious interference with contract

   or business expectancy by inducing student loan holders—including ones who were not behind

   on their payments—to stop making payments on their promissory notes, go into default, and to

   trigger telephone calls from Navient that arguably violated a law against automatic calls.

             The essential elements in an action for tortious interference with contract or business

   expectancy are: (1) the existence of a valid contractual relationship; (2) knowledge of the

   relationship on the part of the interferor; (3) intentionally inducing or causing a breach or

   termination in the relationship or expectancy; and (4) the breach caused damage to the party

   whose relationship or expectancy has been disrupted. Malice is not required for a showing of

   tortious interference.

             Tortious interference may include interference by unethical conduct, illegal, or

   independently tortious, although a plaintiff claiming international interference with contract or

   business expectancy need not allege and prove all elements of liability for the underlying

   independent tort.

             To demonstrate the existence of a business expectancy, Navient must establish

   expectancy by and between at least two parties based upon something that is a concrete move in

   that direction.

             Navient is not a party to the promissory notes between the student loan holders and their

   lenders. 80 Navient serviced the loans pursuant to a separate contract with the lenders. 81 Because



   80
        ECF 324 at ¶ 21.
   81
        Id., Ex. 1 and 2.


                                                      84
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 95 of 131 PageID# 16858




   NSL was not a party to the promissory notes, NSL must prove that the defendant(s) acted with

   the purpose of interfering with NSL’s contract between itself and the lenders. 82 In other words,

   if a defendant induces a student to breach a promissory note with a lender, NSL may be harmed

   by the action, but NSL is not within the scope of the protection afforded by the claim of tortious

   interference with contract, unless the defendant intended to affect NSL. 83 Even then NSL cannot

   recover unless the defendant acted for the purpose of interfering with contract between the lender

   and NSL. 84

   Supporting Authority:

   Chaves v. Johnson, 335 S.E.2d 97, 102-03 (Va. 1985).

   Duggin v. Adams, 360 S.E.2d 832, 836 (Va. 1987).

   Moore v. United Int’l Investigative Servs., Inc., 209 F. Supp. 2d 611, 619-20 (E.D. Va. 2002).




   82
      DurretteBradshaw, P.C. v. MRC Consulting, L.C., 670 S.E.2d 704, 707 (Va. 2009).
   83
      Id.
   84
      Id.


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 96 of 131 PageID# 16859




                              PROPOSED JURY INSTRUCTION NO. 56

               Defendants’ Proposal: Tortious Interference: Justification and Privilege

            A defendant does not tortiously interfere with a contract where the defendant’s conduct

   was justified, that is, where the defendant was legally entitled to perform acts complained of by

   the plaintiff. 85

            “The giving of requested advice” is justified, privileged, and cannot constitute grounds for
                                       86
   a claim of tortious interference.        The goal of the privilege is to protect advice that is motivated,

   even in part, by a good faith intent to benefit the principal's interest. 87

            The advisor loses the privilege only if he acts solely to feather his own nest, and without

   believing that (or caring whether) he is helping his client, and he causes the client to break a

   contract to the detriment of the other party to the contract. 88

            The defendant must prove by a preponderance of the evidence that his conduct was

   justified. 89

                                  Plaintiff’s Proposal: (No Instruction)

            Plaintiff would omit this instruction.




   85
      Lewis-Gale Med. Ctr., LLC v. Alldredge, 710 S.E.2d 716, 722 (Va. 2011).
   86
      Chaves v. Johnson, 335 S.E.2d 97, 103 (Va. 1985).
   87
      In re General Capacitor, 325 F. Supp.3d 1029, 1039 (N.D. Cal. 2018).
   88
      J.D. Edwards & Co. v. Podany, 168 F.3d 1020, 1023 (7th Cir. 1999).
   89
      Id.


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 97 of 131 PageID# 16860




                              PROPOSED JURY INSTRUCTION NO. 57

                          Partially Agreed: Tortious Interference: Damages

          If you find that Navient has established the necessary elements of tortious interference with

   contract or business expectancy, Navient is entitled to an amount of money shown to be fair and

   adequate compensation for such or damage, if any, as proximately resulted from the tortious

   interference.

          Plaintiff’s Proposal: Such damages may include

          (1) the Plaintiff’s direct expenses; 90

          (2) lost profits; 91 and

          (3) damage to the Plaintiff’s business reputation. 92

          While a plaintiff must provide sufficient facts and circumstances concerning his damages,

   a plaintiff need not prove his compensatory damages to an exact amount. 93 (Defendants would

   omit all but the first paragraph.)

   Supporting Authority:

   O’Malley 6th ed., § 127:03.




   90
      Simbeck, Inc.v. Dodd-Sisk Whitlock Corp., 44 Va.Cir. 54,65(City of Winchester1997), aff’d,
   257 Va. 53, 508 S.E.2d 601 (1999) (citing Bettius & Sanderson, P.C. v. Nat'l Fire Ins. Co., 839
   F.2d 1009, 1012 (4th Cir. 1988))
   91
      Hop-In Food Stores, Inc. v. Serv-N-Save, Inc., 247 Va. 187, 190-91, 440 S.E.2d 606, 608
   (1994)
   92
      United Constr. Workers v. Laburnum Constr. Corp., 194 Va. 872, 887, 75 S.E.2d 694, 704
   (1953), aff'd, 347 U.S. 656 (1954
   93
      Murray v. Hadid, 238 Va. 722, 731, 385 S.E.2d 898, 904 (1989).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 98 of 131 PageID# 16861




                              PROPOSED JURY INSTRUCTION NO. 58

                                Plaintiff’s Proposal: Punitive Damages

          If you find the Defendants liable for fraud or tortious interference, you must determine if

   the Defendants are also liable for damages above and beyond what might satisfy Navient for its

   actual losses. These additional damages are often referred to as punitive damages.

          Punitive or exemplary damages are awarded in situations where mere compensation is not

   enough and the conduct of the Defendants require an additional motivation not to engage in this

   type of conduct again—i.e., to punish a wrongdoer for some extraordinary misconduct, and to

   serve as an example or warning to others not to engage in such conduct.

          If, from a preponderance of the evidence, it appears that Navient is entitled to a verdict for

   actual or compensatory damages, and if you should further find that the alleged act or omission of

   the Defendants, if any, which proximately caused actual injury or damage to Navient, was

   malicious or so willful and wanton as to demonstrate a conscious disregard for the rights of others,

   then you may add to the award of actual damages such amount as you may unanimously agree to

   be proper, as punitive and exemplary damages.

          An act or a failure to act is “maliciously” done, if prompted or accompanied by ill will, or

   spite, or grudge, either toward the injured person individually, or toward all persons in one or more

   groups of categories of which the injured person is a member.

          An act or a failure to act is “wantonly” done if done in conscious disregard of another

   person’s rights or acting with reckless indifference to the consequences, with the Defendant aware,

   from his knowledge of existing circumstances and conditions, that his conduct probably would

   cause injury to another.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 99 of 131 PageID# 16862




             An act or a failure to act is “oppressively” done if done in a way or manner that injures,

   damages, or otherwise violates the rights of another person with unnecessary harshness or severity,

   as by misuse or abuse of authority or power, or by taking advantage of some weakness, disability,

   or misfortune of another person.

             Whether or not to make any award of punitive and exemplary damages, in addition to actual

   damages, is a matter exclusively within the province of a jury.

   Supporting Authority:

   Sit-Set, A.G. v. Universal Jet Exchange, Inc., 747 F.2d 921, 927-28 (4th Cir. 1984).

   Lucher v. Hildenbrandt, 794 F. Supp. 581, 583 (E.D. Va. 1992).

                                 Defendant’s Proposal: (No Instruction)

             The Lohman Defendants object to any instruction being given. In the event an instruction

   is given, Defendants propose the following instruction:

                                Defendant’s Proposal: Punitive Damages

             As jurors, you may but are not required to award punitive damages.

             To be entitled to punitive damages, Navient must establish that the defendant's conduct

   was willful or wanton. 94 Willful and wanton conduct is an action undertaken in conscious disregard

   of another's rights, or with reckless indifference to consequences with the defendant aware, from

   his knowledge of existing circumstances and conditions, that his conduct probably would cause

   injury to another. 95 When the act or omission complained of is free from fraud, malice, oppression,

   or other special motives of aggravation, punitive damages cannot be awarded, and only




   94
        Huffman v. Love, 245 Va. 311, 314 (1993).
   95
        Alfonso v. Robinson, 257 Va. 540, 545 (1999).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 100 of 131 PageID# 16863




    compensatory damages may be awarded. 96




    96
         Wright v. Everett, 197 Va. 608, 615, 90 S.E.2d 855, 859 (1956).




                                                     90
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 101 of 131 PageID# 16864




                              PROPOSED JURY INSTRUCTION NO. 59

                     Plaintiff’s Proposal: Punitive Damages: Relevant Evidence

           In making a determination as to punitive damages, you may consider only that evidence

    which relates to the following:

           1.      The reprehensibility of the Defendants’ motive and conduct, if you have so found;

           2.      The likelihood at the relevant time of serious harm to Navient;

           3.      The degree of the Defendant’s awareness of the probable consequences of its

                   conduct;

           4.      The duration of the Defendant’s conduct;

           5.      The actual damages suffered by Navient;

           6.      Any concealment by the Defendant of the facts or consequences of its conduct;

           7.      The existence and frequency of any similar past conduct by the Defendant, if you

                   so find; and

           8.      Whether the Defendant profited by the conduct.

           Finally, if you determine, in your discretion, to award punitive damages, then you may

    award to the Plaintiff an amount that bears a rational relationship to the sum reasonably needed to

    punish the Defendants for egregiously wrongful acts and to deter the Defendant and others from

    committing similar wrongful acts.

    Supporting Authority:

    O’Malley 6th ed., § 124:31.

    TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. 443, 459-62 (1993).

    Smith v. Wade, 461 U.S. 30 (1983).

    Pacific Milt. Life Ins. Co. v. Haslip, 499 U.S. 1, 15-20 (1991).




                                                    91
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 102 of 131 PageID# 16865




    BMW of North America, Inc v. Gore, Jr., 517 U.S. 559 (1996).

                              Defendants’ Proposal: (No Instruction)

           The Lohman Defendants object to any instruction being given.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 103 of 131 PageID# 16866




                             PROPOSED JURY INSTRUCTION NO. 60

                       Agreed: Telephone Consumer Protection Act (“TCPA”)

           The Telephone Consumer Protection Act, or “TCPA,” prohibits the making of a call to a

    cellular telephone, except with the prior express consent of the called party, “using any automatic

    telephone dialing system, or “ATDS.”

    Supporting Authority:

    47 U.S.C. § 227(b)(1)(A)(iii).




                                                    93
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 104 of 131 PageID# 16867




                              PROPOSED JURY INSTRUCTION NO. 61

                               Plaintiff’s Proposal: Definition of “ATDS”

           Under the TCPA, to qualify as an “automatic telephone dialing system,” a device must

    have the capacity either to store a telephone number using a random or sequential generator or to

    produce a telephone number using a random or sequential number generator. In this action,

    Defendants do not contend that Navient violated the TCPA in the past by using an ATDS.

    Supporting Authority:

    47 U. S. C. §227(a)(1).

    Facebook, Inc. v. Duguid, 141 S. Ct. 1163 (2021).

                              Defendants’ Proposal: Definition of “ATDS”

           During the time period that Navient and the Lohman Defendants were litigating and

    resolving the underlying TCPA claims, Navient claimed its telephone system was not an ATDS.

    The Lohman Defendants claimed that Navient’s telephone system was an ATDS. The law was

    unsettled, and the definition of an ATDS was the subject of significant litigation in federal courts.

    Sometimes decision-makers agreed with Navient. Sometimes decision makers agreed with the

    Lohman Defendants. In any event, the parties had the full and fair opportunity to litigate whether

    Navient used an ATDS.

    Supporting Authority:

    ECF 100 at ¶¶ 48, 106.

    ECF 324 at ¶¶ 29-30.




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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 105 of 131 PageID# 16868




                               PROPOSED JURY INSTRUCTION NO. 62

                            Plaintiff’s Proposal: Noerr-Pennington Immunity

            The Noerr-Pennington doctrine safeguards the First Amendment right to petition the

    government for a redress of grievances by immunizing citizens from the liability that may attend

    the exercise of that right. 97 Arbitration is part of the adjudicatory process and litigation activity in

    the context of arbitrations may be protected by the First Amendment. 98

            Conduct incidental to the prosecution of a lawsuit may be immune from liability based on

    the Noerr-Pennington doctrine, but conduct not in a litigation context is not included. 99

            However, the First Amendment offers no protection when petitioning activity is a mere

    sham to cover up an attempt to violate federal law. 100 A “sham” situation involves a party whose

    activities are not genuinely aimed at procuring favorable relief or who genuinely seek relief but

    does so through improper means. 101When purported sham litigation encompasses a series of legal

    proceedings rather than a singular legal action, you should not focus on any single case. Rather

    you must conduct a holistic evaluation of whether the administrative and judicial processes have

    been abused. 102 Corruption of an adjudicative process removes any shield that the First




    97
       Navient Solutions LLC v. Lohman, 2020 WL 1917837at *8 (E.D. Va. April 20, 2020); Waugh
    Chapel South LLC v. United Food & Commercial Workers Union Local 27, 728 F.3d 354, 362
    (4th Cir. 2013).
    98
       Eurotech, Inc. v. Cosmos European Travels Aktiengesellschaft, 189 F. Supp.2d 385, 393 (E.D.
    Va. 2002).
    99
       Sosa v. DirecTV, Inc., 437 F.3d 923, 934-935 (9th Cir. 2006).
    100
        Navient Solutions LLC v. Lohman, 2020 WL 1917837at *8 (E.D. Va. April 20, 2020); Waugh
    Chapel South LLC v. United Food & Commercial Workers Union Local 27, 728 F.3d 354, 362
    (4th Cir. 2013).
    101
        Columbia v. Omni Outdoor Advertising, Inc., 499 US 365, 380-81 (1991); Allied Tube &
    Conduit Corp. v. Indian Head, Inc., 486 U. S. 496, 500, n. 4 (1988)
    102
        Waugh Chapel South LLC v. United Food & Commercial Workers Union Local 27, 728 F.3d
    354, 364 (4th Cir. 2013) (citing Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508,
    515 (1972)).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 106 of 131 PageID# 16869




    Amendment otherwise would provide. 103 If you conclude that there was a pattern of baseless,

    repetitive claims, you may conclude that the administrative and judicial processes have been

    abused. 104

                          Defendants’ Proposal: First Amendment Immunity

            Defendants Jeffrey Lohman, Jeremy Branch, and the Law Offices of Jeffrey Lohman claim

    that Navient’s claims against them are barred by the First Amendment.

            Under the First Amendment, a defendant is immune from liability for his/her litigation

    conduct, unless the defendant’s litigation was a “sham.” 105

            Arbitration is part of the adjudicatory process and litigation activity in the context of

    arbitrations is protected by the First Amendment. 106 Conduct incidental to the prosecution of a

    lawsuit, including communications between private parties is also protected by the First

    Amendment. 107

            Successful litigation cannot be characterized as a “sham.” 108

            Unsuccessful litigation is a “sham” only if:

            1)     The lawsuit is objectively baseless in the sense that no reasonable litigant could

                   reasonably expect success on the merits. 109 “[E]ven litigation that is deceitful,



    103
        Chevron v. Donziger, 974 F. Supp. 2d 362, 590 (S.D.N.Y. 2014), aff’d, 833 F.3d 74 (2d Cir.
    2016), cert. denied, 137 S. Ct. 2268 (2017).
    104
        Waugh Chapel South LLC v. United Food & Commercial Workers Union Local 27, 728 F.3d
    354, 364 (4th Cir. 2013).
    105
        IGEN Int’l, Inc. v. Roche Diagnostics GmbH, 335 F.3d 303, 320 (4th Cir. 2003) (citing United
    Mine Wkrs. of Am. v. Pennington, 381 U.S. 657, 670 (1965) and Eastern R.R. Presidents Conf. v.
    Noerr Motor Freight, Inc., 365 U.S. 127, 138 (1961)).
    106
        Eurotech, Inc. v. Cosmos European Travels Aktiengesellschaft, 189 F. Supp.2d 385, 393
    (E.D. Va. 2002).
    107
        Sosa v. DirecTV, Inc., 437 F.3d 923, 934-935 (9th Cir. 2006).
    108
        A Fisherman’s Best, Inc. v. Recreational Fishing Alliance, 310 F.3d 183, 191 (4th Cir. 2002).
    109
        Professional Real Estate Inv., Inc. v. Columbia Pictures Ind., Inc. I (“PRE”), 508 U.S. 49, 60
    (1993).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 107 of 131 PageID# 16870




                   underhanded, or morally wrong will not defeat immunity unless it satisfies the

                   baselessness requirement”; 110 and

           2)      Even if the litigation is objectively baseless, the litigation is only a “sham” if the

                   defendant was also subjectively motivated by an improper purpose. 111

           When considering whether the Lohman Defendants engaged in “sham” litigation, you

    should not focus on any single case. Rather you must conduct a holistic evaluation of all the

    litigation activities engaged in by the Lohman Defendants. 112

           Navient must prove by a preponderance of the evidence that Jeffrey Lohman, Jeremy

    Branch, and the Law Offices of Jeffrey Lohman engaged in “sham” litigation. 113




    110
        IGEN Int’l, Inc., 335 F.3d at 312.
    111
        PRE, 508 U.S. at 60-61.
    112
        Waugh Chapel South LLC v. United Food & Commercial Workers Union Local 27, 728 F.3d
    354, 364 (4th Cir. 2013) (citing Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508,
    515 (1972)).
    113
        IGEN Int’l, Inc., 335 F.3d at 312.



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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 108 of 131 PageID# 16871




                              PROPOSED JURY INSTRUCTION NO. 63

                               Partially Agreed: Accord and Satisfaction

           Defendants Jeffrey Lohman, Jeremy Branch, and the Law Offices of Jeffrey Lohman

    contend that the agreements signed by Navient to settle various legal claims released those

    Defendants from any subsequent legal claim related to these facts, demonstrating that the parties

    reached an accord and satisfaction of any of their obligations to Navient. Plaintiff’s Proposal: In

    order for the Defendants to prevail on this defense, they must show that the parties specifically

    agreed to the Defendants’ release with respect to an existing obligation. (Defendants would omit

    this sentence.)

           Accord is a satisfaction agreed upon between the party injuring and the party injured,

    which, when performed, is a bar to all actions upon the claim. 114

           In plain language, the “accord” is the agreement between the parties. The “satisfaction” is

    the exchange of consideration between the parties that “satisfies” or settles or discharges the claim.

           To be valid, the agreement must be offered and accepted and there must be an exchange of

    consideration. 115 The agreement must also contain a written and conspicuous statement that the it

    is offered in full satisfaction of the claim. 116 A reasonable person would understand that the

    agreement was tendered in full satisfaction of the claim. 117

           A person is a third-party beneficiary of an agreement if the parties to the agreement have

    agreed between themselves to bestow a benefit upon the third party. 118 A third party beneficiary




    114
        Owen v. Wade, 37 S.E.2d 759, 762 (Va. 1946).
    115
        Middleburg Volunteer Fire Dep’t, Inc. v. McNell & Co., Inc., 60 F. Supp.3d 640, 651 (E.D.
    Va. 2014).
    116
        Id.
    117
        Id.
    118
        Copenhaver v. Rogers, 384 S.E.2d 593, 596 (Va. 1989).


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Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 109 of 131 PageID# 16872




    may enforce the terms of a contract even though he is not a party to the contract. 119 The essence

    of a third-party beneficiary’s claim is that others have agreed between themselves to bestow a

    benefit upon the third-party but one of the parties to the agreement is failing to uphold its portion

    of the bargain. 120

            Defendants must prove an accord and satisfaction by a preponderance of the evidence.

    Supporting Authority:

    O’Malley 6th ed., § 107:03.




    119
        Environmental Staffing Acquisition Group v. B&R Const. Management, Inc., 725 S.E.2d 550,
    553 (Va. 2012).
    120
        Id.


                                                     99
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 110 of 131 PageID# 16873




                                 PROPOSED JURY INSTRUCTION NO. 64

                                  Defendants’ Proposal: Collateral Estoppel

              The doctrine of collateral estoppel bars the relitigation of issues that were decided in a prior

    proceeding. Issues cannot be relitigated in a subsequent proceeding if:

              (1)     The issues are identical to those in a prior proceeding;

              (2)     The issues were actually litigated;

              (3)     The determination of the issues was necessary to the resulting judgment; and

              (4)     The party seeking to relitigate the issues had a full and fair opportunity in the prior

                      litigation to litigate the issues. 121

                                      Plaintiff’s Proposal: (No Instruction)

              Plaintiff would omit this instruction.




    121
          Filler v. United States, 148 Fed. Cl. 123, 133 (2020).



                                                          100
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 111 of 131 PageID# 16874




                              PROPOSED JURY INSTRUCTION NO. 65

                                              Agreed: Waiver

           “Waiver” is the intentional relinquishment or abandonment of a known right. 122

           For waiver to apply, Defendants must establish: (1) that NSL had knowledge of the facts

    basic to the exercise of the right; and (2) NSL intended to relinquish the right. 123

           Defendants must prove these two elements by clear, precise, and unequivocal evidence. 124




    122
        Malvo v. Mathena, 254 F. Supp.3d 820, 833 (E.D. Va. 2017), aff’d, 893 F.3d 265 (4th Cir.
    2018), cert. dismissed, 104 S.Ct. 919 (2020).
    123
        Signature Flight Support Corp. v. Landow Aviation Ltd. Partnership, 698 F. Supp.2d 602,
    625 (E.D. Va. 2010).
    124
        Id.


                                                     101
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 112 of 131 PageID# 16875




                              PROPOSED JURY INSTRUCTION NO. 66

                              Agreed: Plaintiff’s Duty to Mitigate Damages

            A plaintiff must pursue all contingencies likely to mitigate its loss.125

            The defendant bears the burden to prove that the plaintiff failed to mitigate damages. 126

            Mitigation of damages is not a defense that, if proven, constitutes an absolute bar to the

    plaintiff's claim. 127 Instead, a defense of mitigation recognizes that a plaintiff's conduct may have

    contributed to its own damage and may, thus, be reason for reducing damages, but it does not

    necessarily bar all recovery. 128




    125
        Liquidation Com’n of Banco Intercontinental, S.A. v. Renta, 530 F.3d 1339, 1351 (11th Cir.
    2008); see also Bieter v. Blomquist, 987 F.2d 1319, 1329 (8th Cir.1993) (“Other courts have
    recognized that civil RICO is ‘a statutory tort remedy-simply one with particularly drastic
    remedies.’ It follows then, that limitations on damages suggested by tort law would also apply to
    civil RICO” (citing Brandenburg v. Seidel, 859 F.2d 1179, 1189 (4th Cir.1988), overruled on
    other grounds by Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 116 S.Ct. 1712, 135 L.Ed.2d 1
    (1996))); Glen Flora Dental Ctr., Ltd. v. First Eagle Bank, 487 F. Supp.3d 722, 737 (N.D. Ill.
    2020) (RICO claim was subject to a failure to mitigate defense).
    126
        Monahan v. Obici Medical Management Serv., Inc., 628 S.E.2d 330, 336 (Va. 2006).
    127
        Id. at 337.
    128
        See id.


                                                     102
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 113 of 131 PageID# 16876




                                PROPOSED JURY INSTRUCTION NO. 67

                                       Agreed: Rendering a Verdict

           You must follow these rules while deliberating and returning your verdict:

           First, when you go to the jury room, you must select a foreperson. The foreperson will

    preside over your discussions and speak for you here in court.

           Second, it is your duty, as jurors, to discuss this case with one another in the jury and try

    to reach to reach agreement.

           Each of you must make your own conscientious decision, but only after you have

    considered all the evidence, discussed it fully with the other jurors, and listened to the views of the

    other jurors.

           Do not be afraid to change your opinions if the discussion persuades you that you should.

    But do not make a decision simply because other jurors think it is right, or simply to reach a verdict.

    Remember at all times that you are judges of the facts. Your sole interest is to seek the truth from

    the evidence in the case.

           Third, if you need to communicate with me during your deliberations, you may send a note

    to me through the marshal or bailiff, signed by one or more jurors. I will respond as soon as

    possible either in writing or orally. Remember, you should not tell anyone—including me—how

    your votes stand numerically.

           Fourth, your verdict must be based solely on the evidence and on the law I have given to

    you in these instructions. The verdict must be unanimous. Nothing I have said or done is intended

    to suggest what your verdict should be—that is entirely for you to decide.

           Finally, the verdict form is simply the written notice of the decision that you reach in this

    case. Nothing said in these instructions and nothing in any verdict form prepared for your




                                                     103
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 114 of 131 PageID# 16877




    convenience is meant to suggest or convey in any way or manner any suggestions or hint as to

    what verdict I think you should reach. Determining what the verdict shall be is your sole and

    exclusive duty and responsibility. You will take this form to the jury room, and when each of you

    has agreed on the verdict, your foreperson will fill in the form, sign and date it, and advise the

    marshal or bailiff that you are ready to return to the courtroom.

    Supporting Authority:

    O’Malley 6th ed., §§ 103:50, 106:07.




                                                    104
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 115 of 131 PageID# 16878




                                     JURY VERDICT FORMS

                              Plaintiff’s Proposed Jury Verdict Form

          Plaintiff’s proposed jury verdict form follows.




                                                  105
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 116 of 131 PageID# 16879




                                       JURY VERDICT FORM

            Unless otherwise instructed herein, at the conclusion of your deliberations under the
    standards set forth in the Court’s instructions to you, please answer each question below. After
    you have completed the form, please have your jury foreperson sign and date the form on the
    lines provided below.

    A.     Racketeer Influenced and Corrupt Organizations Act (RICO) - Section 1962(c)
           RICO Conspiracy – Section 1962(d)

    1.     Is Defendant The Law Offices of Jeffrey Lohman liable to Plaintiff Navient Solutions, LLC
           (“Navient”) for violating RICO by conducting or participating in the conduct of an
           enterprise’s affairs through a pattern of racketeering activity? (check one)

                                         Yes □           No □

    2.     Is Defendant The Law Offices of Jeffrey Lohman liable to Navient for conspiring to
           conduct or participate in the affairs of an enterprise through a pattern of racketeering
           activity? (check one)

                                         Yes □           No □

    3.     Is Defendant Jeffrey Lohman liable to Navient for violating RICO by conducting or
           participating in the conduct of an enterprise’s affairs through a pattern of racketeering
           activity? (check one)

                                         Yes □           No □

    4.     Is Defendant Jeffrey Lohman liable to Navient for conspiring to conduct or participate in
           the affairs of an enterprise through a pattern of racketeering activity? (check one)

                                         Yes □           No □

    5.     Is Defendant Jeremy Branch liable to Navient for violating RICO by conducting or
           participating in the conduct of an enterprise’s affairs through a pattern of racketeering
           activity? (check one)

                                         Yes □           No □

    6.     Is Defendant Jeremy Branch liable to Navient for conspiring to conduct or participate in
           the affairs of an enterprise through a pattern of racketeering activity? (check one)

                                         Yes □           No □




                                                   106
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 117 of 131 PageID# 16880




    7.    Is Defendant GST Factoring, Inc. (“GST Factoring”) liable to Navient for violating RICO
          by conducting or participating in the conduct of an enterprise’s affairs through a pattern of
          racketeering activity? (check one)

                                        Yes □           No □

    8.    Is Defendant GST Factoring liable to Navient for conspiring to conduct or participate in
          the affairs of an enterprise through a pattern of racketeering activity? (check one)

                                        Yes □           No □

    9.    Is Defendant Rick Graff liable to Navient for violating RICO by conducting or participating
          in the conduct of an enterprise’s affairs through a pattern of racketeering activity? (check
          one)

                                        Yes □           No □

    10.   Is Defendant Rick Graff liable to Navient for conspiring to conduct or participate in the
          affairs of an enterprise through a pattern of racketeering activity? (check one)

                                        Yes □           No □

    11.   Is Defendant Gregory Trimarche liable to Navient for violating RICO by conducting or
          participating in the conduct of an enterprise’s affairs through a pattern of racketeering
          activity? (check one)

                                        Yes □           No □

    12.   Is Defendant Gregory Trimarche liable to Navient for conspiring to conduct or participate
          in the affairs of an enterprise through a pattern of racketeering activity? (check one)

                                        Yes □           No □

    13.   If you answered “Yes” to any or all of questions 1 through 12, please write in the total
          amount of damages necessary to fully, justly, and reasonably compensate Navient for the
          Defendant’s or Defendants’ violations of RICO and RICO Conspiracy:


                                 ________________________________




                                                  107
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 118 of 131 PageID# 16881




    B.    Fraud Claims

    14.   Is Defendant the Law Offices of Jeffrey Lohman liable to Navient for fraud? (check one)

                                       Yes □           No □

    15.   Is Defendant Jeffrey Lohman liable to Navient for fraud? (check one)

                                       Yes □           No □

    16.   Is Defendant Jeremy Branch liable to Navient for fraud? (check one)

                                       Yes □           No □

    17.   If you answered “Yes” to any or all of questions 14 through 16, please write in the total
          amount of damages necessary and sufficient to compensate Navient for the injuries that it
          incurred as a result of the Defendant’s or Defendants’ fraudulent conduct:

                                ________________________________

    C.    Tortious Interference with Contract or Business Expectancy Claims

    18.   Is Defendant the Law Offices of Jeffrey Lohman liable to Navient for tortious interference
          with contract? (check one)

                                       Yes □           No □

    19.   Is Defendant Jeffrey Lohman liable to Navient for tortious interference with contract?
          (check one)

                                       Yes □           No □

    20.   Is Defendant Jeremy Branch liable to Navient for tortious interference with contract?
          (check one)

                                       Yes □           No □

    21.   Is Defendant Rick Graff liable to Navient for tortious interference with contract? (check
          one)

                                       Yes □           No □

    22.   Is Defendant Gregory Trimarche liable to Navient for tortious interference with contract?
          (check one)

                                       Yes □           No □



                                                 108
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 119 of 131 PageID# 16882




    23.   Is Defendant GST Factoring liable to Navient for tortious interference with contract?
          (check one)

                                        Yes □          No □

    24.   If you answered “Yes” to any or all of questions 18 through 23, please write in the total
          amount of damages necessary and sufficient to compensate Navient for the injuries that it
          incurred as a result of the Defendant’s or Defendants’ tortious interference with contract:

                                ________________________________

    D.    Punitive Damages

    25.   (Answer this question only if you answered “Yes” to questions 14 and/or 18) Do you find
          that Defendant The Law Offices of Jeffrey Lohman should be liable to Navient for punitive
          damages because its fraudulent conduct was done maliciously, wantonly, or oppressively?
          (check one)

                                        Yes □          No □

    26.   (Answer only if you answered “Yes” to question 25) Please write in the total amount of
          punitive damages that Navient should be awarded from Defendant The Law Offices of
          Jeffrey Lohman:

                                ________________________________


    27.   (Answer this question only if you answered “Yes” to questions 15 and/or 19) Do you find
          that Defendant Jeffrey Lohman should be liable to Navient for punitive damages because
          its fraudulent conduct was done maliciously, wantonly, or oppressively? (check one)

                                        Yes □          No □

    28.   (Answer only if you answered “Yes” to question 27) Please write in the total amount of
          punitive damages that Navient should be awarded from Defendant Jeffrey Lohman:

                                ________________________________

    29.   (Answer this question only if you answered “Yes” to questions 16 and/or 20) Do you find
          that Defendant Jeremy Branch should be liable to Navient for punitive damages because
          its fraudulent conduct was done maliciously, wantonly, or oppressively? (check one)

                                        Yes □          No □




                                                 109
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 120 of 131 PageID# 16883




    30.   (Answer only if you answered “Yes” to question 29) Please write in the total amount of
          punitive damages that Navient should be awarded from Defendant Jeremy Branch:

                               ________________________________

    31.   (Answer this question only if you answered “Yes” to question 21) Do you find that
          Defendant Rick Graff should be liable to Navient for punitive damages because its
          fraudulent conduct was done maliciously, wantonly, or oppressively? (check one)

                                       Yes □          No □

    32.   (Answer only if you answered “Yes” to question 32) Please write in the total amount of
          punitive damages that Navient should be awarded from Defendant Rick Graff:

                               ________________________________

    33.   (Answer this question only if you answered “Yes” to questions 22) Do you find that
          Defendant Gregory Trimarche should be liable to Navient for punitive damages because
          its fraudulent conduct was done maliciously, wantonly, or oppressively? (check one)

                                       Yes □          No □

    34.   (Answer only if you answered “Yes” to question 33) Please write in the total amount of
          punitive damages that Navient should be awarded from Defendant Gregory Trimarche:

                               ________________________________

    35.   (Answer this question only if you answered “Yes” to questions 23) Do you find that
          Defendant GST Factoring should be liable to Navient for punitive damages because its
          fraudulent conduct was done maliciously, wantonly, or oppressively? (check one)

                                       Yes □          No □

    36.   (Answer only if you answered “Yes” to question 35) Please write in the total amount of
          punitive damages that Navient should be awarded from Defendant GST Factoring:

                               ________________________________

    E.    Attorneys’ Fees

    37.   Do you find that attorneys’ fees should be awarded to Navient as damages? (check one)

                                       Yes □          No □




                                                110
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 121 of 131 PageID# 16884




    38.   (Answer only if you answered “Yes” to question 37) Please write in the total amount of
          attorneys’ fees that should be awarded to Navient.

                               ________________________________


    ________________________                                ________________________
    Date                                                    Foreperson’s Signature




                                               111
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 122 of 131 PageID# 16885




                            Defendants’ Proposed Jury Verdict Forms

          Defendants’ three proposed jury verdict forms follow.




                                                112
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 123 of 131 PageID# 16886




                                SPECIAL VERDICT FORM (RICO)

           We, the jury, find the following answers to the following questions:

    RICO – 18 U.S.C. § 1962(c) – Participation in the Affairs of an Enterprise Through a
    Pattern of Racketeering Activity

       1. Did Jeffrey Lohman conduct an enterprise through a pattern of racketeering activity in
          violation of section 1962(c)?

                                                               ________       ______
                                                                  Yes           No

       2. Did Jeremy Branch conduct an enterprise through a pattern of racketeering activity in
          violation of section 1962(c)?

                                                               ________       ______
                                                                  Yes           No

       3. Did the Law Offices of Jeffrey Lohman, P.C. conduct an enterprise through a pattern of
          racketeering activity in violation of section 1962(c)?

                                                               ________       ______
                                                                  Yes           No

       4. Did GST Factoring, Inc. conduct an enterprise through a pattern of racketeering activity
          in violation of section 1962(c)?

                                                               ________       ______
                                                                  Yes           No


       5. Did Rick Graff conduct an enterprise through a pattern of racketeering activity in
          violation of section 1962(c)?

                                                               ________       ______
                                                                  Yes           No

       6. Did Gregory Trimarche conduct an enterprise through a pattern of racketeering activity in
          violation of section 1962(c)?

                                                               ________       ______
                                                                  Yes           No

    If you answered “no” to all Question Nos. 1-6, you should skip all remaining questions, your
    foreperson should sign and date the form, and return it to the Court.



                                                  113
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 124 of 131 PageID# 16887




    RICO – 18 U.S.C. § 1962(d) – Conspiray to Participate in the Affairs of an Enterprise
    Through a Pattern of Racketeering Activity

       7. Did Jeffrey Lohman conspire to conduct an enterprise through a pattern of racketeering
          activity in violation of section 1962(d)?

                                                               ________       ______
                                                                  Yes           No

       8. Did Jeremy Branch conspire to conduct an enterprise through a pattern of racketeering
          activity in violation of section 1962(d)?

                                                               ________       ______
                                                                  Yes           No


       9. Did the Law Offices of Jeffrey Lohman, P.C. conspire to conduct an enterprise through a
          pattern of racketeering activity in violation of section 1962(d)?

                                                               ________       ______
                                                                  Yes           No

       10. Did GST Factoring, Inc. conspire to conduct an enterprise through a pattern of
           racketeering activity in violation of section 1962(d)?

                                                               ________       ______
                                                                  Yes           No


       11. Did Rick Graff conspire to conduct an enterprise through a pattern of racketeering
           activity in violation of section 1962(d)?

                                                               ________       ______
                                                                  Yes           No

       12. Did Gregory Trimarche conspire to conduct an enterprise through a pattern of
           racketeering activity in violation of section 1962(d)?

                                                               ________       ______
                                                                  Yes           No




                                                  114
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 125 of 131 PageID# 16888




    RICO – 18 U.S.C. § 1964(c) – Standing


       13. If you answered “yes” to any Question Nos. 1 - 12, was Navient injured in its business or
           property by reason of the RICO violation(s)?

                                                               ________       ______
                                                                  Yes           No

    RICO – Damages

       14. If you answered “yes” to Question No. 13, what amount would compensate Navient for
           the injuries each sustained to its business or property caused by reason of the RICO
           violation(s)? Your answer to this question should state only that amount that Navient has
           standing to recover under RICO.

          $____________________




    _________________________________                          ______________________________
    DATE                                                       FOREPERSON




                                                  115
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 126 of 131 PageID# 16889




                           SPECIAL VERDICT FORM (STATE CLAIMS)

            We, the jury, find the following answers to the following questions:

    Fraud

       1. Did Jeffrey Lohman commit fraud against Navient?

                                                                ________       ______
                                                                   Yes           No

       2. Did Jeremy Branch commit fraud against Navient?

                                                                ________       ______
                                                                   Yes           No

       3. Did the Law Offices of Jeffrey Lohman, P.C. commit fraud against Navient?

                                                                ________       ______
                                                                   Yes           No

    Damages

       4. If you answered “yes” to Question No. 1, 2, or 3, what is the amount of the damages that
          Navient sustained as a result of the fraud? Do not include in this number any damages
          that you have awarded to Navient on the RICO verdict form.

            $____________________

    Tortious Interference with Contract – Lohman Defendants

       5. Did Jeffrey Lohman tortiously interfere with Navient’s contract to service student loans
          owned by others?

                                                                ________       ______
                                                                   Yes           No

       6. If you answered “yes” to Question No. 7, was Jeffrey Lohman’s interference justified?

                                                                ________       ______
                                                                   Yes           No

       7. Did Jeremy Branch tortiously interfere with Navient’s contract to service student loans
          owned by others?

                                                                ________       ______



                                                   116
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 127 of 131 PageID# 16890




                                                                   Yes           No

       8. If you answered “yes” to Question No. 9, was Jeremy Branch’s interference justified?

                                                                ________       ______
                                                                   Yes           No

       9. Did the Law Offices of Jeffrey Lohman, P.C. tortiously interfere with Navient’s contract
          to service student loans owned by others?

                                                                ________       ______
                                                                   Yes           No

       10. If you answered “yes” to Question No.11, was the Law Offices of Jeffrey Lohman, P.C.’s
           interference justified?

                                                                ________       ______
                                                                   Yes           No


    Answer the next question only if you answered “no” to Question Nos. 6, 8, or 10.

    Damages

       11. What is the amount of the damages that Navient sustained as a result of the Lohman
           Defendants’ tortious interference? Do not include in this number any damages that you
           have awarded to Navient on the RICO verdict form and in response to Question No. 4.

           $____________________

    Tortious Interference with Contract – GST Defendants

       12. Did GST Factoring, Inc. tortiously interfere with Navient’s contract to service student
           loans owned by others?

                                                                ________       ______
                                                                   Yes           No

       13. Did Rick Graff tortiously interfere with Navient’s contract to service student loans owned
           by others?

                                                                ________       ______
                                                                   Yes           No

       14. Did Rick Trimarche tortiously interfere with Navient’s contract to service student loans
           owned by others?



                                                  117
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 128 of 131 PageID# 16891




                                                              ________       ______
                                                                 Yes           No


    Answer the next question only if you answered “yes” to Question Nos. 12, 13, or 14.

    Damages

       15. What is the amount of the damages that Navient sustained as a result of the GST
           Defendants’ tortious interference? Do not include in this number any damages that you
           have awarded to Navient on the RICO verdict form.

           $____________________




    _________________________________                         ______________________________
    DATE                                                      FOREPERSON




                                                  118
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 129 of 131 PageID# 16892




                   SPECIAL VERDICT FORM (AFFIRMATIVE DEFENSES)

          We, the jury, find the following answers to the following questions:

    First Amendment Immunity

       1. Are Navient’s claims against Jeffrey Lohman, Jeremy Branch, and the Law Offices of
          Jeffrey Lohman, P.C. barred by the First Amendment?

                                                              ________       ______
                                                                 Yes           No

    Accord and Satisfaction

       2. Does the doctrine of accord and satisfaction bar Navient’s claims against Jeffrey
          Lohman, Jeremy Branch, and the Law Offices of Jeffrey Lohman, P.C., to the extent
          Navient entered agreements to settled the underlying Telephone Consumer Protection Act
          (“TCPA) claims?

                                                              ________       ______
                                                                 Yes           No
    Collateral Estoppel

       3. Does the doctrine of collateral estoppel bar Navient’s claims against Jeffrey Lohman,
          Jeremy Branch, and the Law Offices of Jeffrey Lohman, P.C., to the extent the
          underlying TCPA claims were resolved by decision-makers in arbitration proceedings or
          court cases?

                                                              ________       ______
                                                                 Yes           No
       Waiver

       4. Did Navient waive its right to recover damages against the Lohman Defendants to the
          extent it dismissed or settled the underlying TCPA claims?

                                                              ________       ______
                                                                 Yes           No

       Mitigation of Damages

       5. Did Navient fail to mitigate its damages?


                                                              ________       ______
                                                                 Yes           No




                                                 119
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 130 of 131 PageID# 16893




       6. If you answered “yes” to Question No. 5, state the dollar amount by which Navient failed
          to mitigate its damages. Any dollar amount you state here will be deducted from the
          damages you awarded to Navient on your RICO and State Claim verdict forms.


          $____________________




    _________________________________                        ______________________________
    DATE                                                     FOREPERSON




                                                 120
Case 1:19-cv-00461-LMB-TCB Document 499 Filed 07/30/21 Page 131 of 131 PageID# 16894




                                     CERTIFICATE OF SERVICE

           I hereby certify that on July 30, 2021, I will electronically file Plaintiff Navient Solutions,

    LLC’s Submission of Joint Proposed Jury Instructions and Jury Verdict Form using the Court’s

    CM/ECF system, which will send a notification of such filing (NEF) to all counsel of record.


    Dated: July 30, 2021                                  Respectfully submitted,

                                                          /s/ Jeffrey R. Hamlin
                                                          Jeffrey R. Hamlin (Va. Bar No. 46932)
                                                          George R. Calhoun V (pro hac vice)
                                                          IFRAH PLLC
                                                          1717 Pennsylvania Avenue NW
                                                          Suite 650
                                                          Washington, DC 20006-2004
                                                          (202) 524-4140 – Tel.
                                                          (202) 524-4141 – Fax
                                                          jhamlin@ifrahlaw.com
                                                          george@ifrahlaw.com

                                                          Counsel for Plaintiff Navient Solutions, LLC




                                                    121
